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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN

 GEICO CORPORATION
 GOVERNMENT EMPLOYEES INSURANCE COMPANY
 GEICO GENERAL INSURANCE COMPANY
 GEICO INDEMNITY COMPANY
 GEICO CASUALTY COMPANY
 GEICO ADVANTAGE INSURANCE COMPANY
 GEICO CHOICE INSURANCE COMPANY
 GEICO SECURE INSURANCE COMPANY
 GEICO COUNTY MUTUAL INSURANCE COMPANY


              Plaintiffs
 V.                                                                  Case No.
                                                                     _____________________
 AUTOLIV, INC.
 AUTOLIV ASP, INC.                                                  DEMAND FOR JURY TRIAL
 AUTOLIV B.V. & CO. KG
 AUTOLIV SAFETY TECHNOLOGY, INC.
 AUTOLIV JAPAN LTD.
 HITACHI AUTOMOTIVE SYSTEMS, LTD.
 NIPPON SEIKI CO., LTD.
 N.S. INTERNATIONAL, LTD.
 NEW SABINA INDUSTRIES, INC.
 PANASONIC CORPORATION
 PANASONIC CORPORATION OF NORTH AMERICA
 T.RAD CO. LTD.
 T.RAD NORTH AMERICA
 TRW DEUTSCHLAND HOLDING GMBH
 ZF TRW AUTOMOTIVE HOLDINGS CORPORATION

              Defendants.


                                       COMPLAINT

       Plaintiff GEICO Corporation and its affiliated entities, Government Employees Insurance

 Company, GEICO General Insurance Company, GEICO Indemnity Company, GEICO Casualty

 Company, GEICO Advantage Insurance Company, GEICO Choice Insurance Company, GEICO

 Secure Insurance Company and GEICO County Mutual Insurance Company, (collectively
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 “GEICO”) bring this action for damages, injunctive relief and other relief pursuant to federal

 antitrust laws and state antitrust, unfair competition, consumer protection and unjust enrichment

 laws. GEICO demands a trial by jury, and alleges as follows:

                                     NATURE OF ACTION

        1.      GEICO brings this lawsuit against Autoliv, Inc., Autoliv ASP, Inc., Autoliv B.V.

 & Co. KG, Autoliv Safety Technology, Inc. and Autoliv Japan Ltd. (“Autoliv”); Hitachi

 Automotive Systems, Ltd. (“HIAMS”); Nippon Seiki Co., Ltd., N.S. International, Ltd., and

 New Sabina Industries, Inc. (“Nippon Seiki”); Panasonic Corporation and Panasonic Corporation

 of North America (“Panasonic”); T. Rad Co. Ltd. and T. RAD North America, Inc. (“T. Rad”);

 and TRW Deutschland Holding GmbH, TRW Automotive Holdings Corporation (“TRW”)

 (collectively “Defendants”), and unnamed co-conspirators, manufacturers and/or suppliers of Air

 Flow Meters, Alternators, ATF Warmers, Electronic Throttle Bodies, Fuel Injection Systems,

 High Intensity Discharge Ballasts, Ignition Coils, Instrument Panel Clusters, Inverters, Motor

 Generators, Occupant Safety Restraint Systems, Radiators, Starters, Steering Angle Sensors,

 Switches and Valve Timing Control Devices (collectively “Auto Parts”) for conspiring to

 unlawfully fix, raise, maintain and/or stabilize prices and allocate markets and customers in the

 United States for Auto Parts.

        2.      The Defendants manufacture, market and/or sell Auto Parts throughout and into

 the United States. The Defendants and their co-conspirators participated in conspiracies and

 agreed to suppress and eliminate competition in the automotive parts industry by agreeing to

 allocate sales of and fix, raise and maintain the prices of Auto Parts sold to vehicle

 manufacturers, repair professionals and others in the United States.




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        3.      The U.S. Department of Justice (“DOJ”) Antitrust Division’s expansive and

 ongoing criminal investigation into illegal price-fixing and bid-rigging in the automotive parts

 industry has become DOJ’s largest simultaneous criminal antitrust investigation in its history.

 As part of the criminal probe, the Federal Bureau of Investigation (“FBI”) has executed search

 warrants and raided the offices of a number of automotive parts makers, including Defendants’

 offices. The widespread and global investigation has led to criminal charges and fines against

 dozens of corporations and automotive parts executives.

        4.      Defendants, co-conspirators of the Defendants in the In re Automotive Parts

 Antitrust Litigation case (MDL No. 2311) and/or unnamed co-conspirators have agreed to plead

 guilty to conspiracies to fix prices and rig bids for specific Auto Parts. Defendants and their co-

 conspirators have paid criminal fines, and their executives have been sentenced to prison time.

        5.      To date, the ongoing cartel investigation of price-fixing and bid-rigging in the

 automotive parts industry has yielded more than $2.6 billion in criminal fines. New cases

 continue to arise “with regularity” and former Attorney General Eric Holder promised that DOJ

 “would check under every hood and kick every tire.”

        6.      Defendants’ conspiracies and agreements to fix prices and allocate markets

 unlawfully restrained interstate and foreign trade and commerce in violation of the Sherman

 Antitrust Act, 15 U.S.C. § 1, and various state antitrust, unfair competition, consumer protection

 and unjust enrichment laws detailed below.

        7.      According to former Attorney General Eric Holder, “[t]hese international price-

 fixing conspiracies affected more than $5 billion in automobile parts sold to U.S. car

 manufacturers, and more than 25 million cars purchased by American consumers” and “lasted

 for a decade or longer” in some instances.



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        8.      As a direct result of the anticompetitive and unlawful conduct alleged, GEICO

 paid and reimbursed its insureds and third-party claimants for artificially inflated prices for Auto

 Parts from as early as 1999 through today, as GEICO continues to suffer lasting price effects

 from Defendants’ unlawful conspiracies. GEICO has thereby suffered antitrust injury to its

 business and property.

                                 JURISDICTION AND VENUE

        9.      GEICO brings this action under Section 16 of the Clayton Act (15 U.S.C. § 26) to

 recover equitable and injunctive relief against Defendants for violating Section 1 of the Sherman

 Act (15 U.S.C. § 1). GEICO also asserts claims under various state antitrust, unfair competition,

 consumer protection and unjust enrichment laws. GEICO seeks to obtain restitution, recover

 actual and exemplary damages and secure other relief against the Defendants for violations of

 those state laws. In addition, GEICO seeks attorneys’ fees, costs and other expenses under

 federal and state law.

        10.     This Court has jurisdiction over the subject matter of this action pursuant to

 Section 16 of the Clayton Act (15 U.S.C. § 26), Section 1 of the Sherman Act (15 U.S.C. § 1)

 and 28 U.S.C. §§ 1331 and 1337. This Court has subject matter jurisdiction over the state law

 claims pursuant to 28 U.S.C. §§ 1332(a) and 1367 because: (i) the matter in controversy exceeds

 $75,000 and GEICO is a citizen of a different state than some Defendants and (ii) GEICO’s state

 law claims are so related to its federal claims that they form part of the same case or controversy

 under Article III of the United States Constitution.

        11.     Venue is proper in this District pursuant to Section 12 of the Clayton Act (15

 U.S.C. § 22) because one or more of the Defendants resides or transacts business in this District.

 Venue is also proper in this District pursuant to 28 U.S.C. §§ 1391 (b), (c) and (d) because a



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 substantial part of the events giving rise to Plaintiffs’ claims occurred in this District, a

 substantial portion of the affected interstate trade and commerce discussed below has been

 carried out in this District, and one or more of the Defendants resides, is licensed to do business

 in, is doing business in, has agents in, and/or is found or transacts business in this District.

        12.     This Court has in personam jurisdiction over the Defendants because each, either

 directly or through the ownership and/or control of its subsidiaries, inter alia: (a) transacted

 business in the United States, including in this District; (b) directly or indirectly sold or marketed

 substantial quantities of Auto Parts throughout the United States, including in this District; (c)

 had substantial aggregate contacts with the United States as a whole, including in this District;

 and/or (d) was engaged in an illegal price-fixing and/or market allocation conspiracy that was

 directed at, and had a direct, substantial, reasonably foreseeable and intended effect of causing

 injury to the business or property of persons and entities residing in, located in, or doing business

 throughout this District and the United States. The Defendants also conduct business throughout

 the United States, including in this District, and they have purposefully availed themselves of the

 laws of the United States.

        13.     The Defendants engaged in conduct both inside and outside of the United States

 that caused direct, substantial and reasonably foreseeable and intended anticompetitive effects

 upon interstate commerce within the United States.

        14.     The activities of the Defendants and their co-conspirators were intended to, and

 did have, a substantial effect on interstate commerce of the United States. The Defendants’

 products are sold in interstate commerce.

        15.     Auto Parts manufactured abroad by the Defendants and sold for use in vehicles in

 the United States are goods brought into the United States for sale, and therefore constitute



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 import commerce. To the extent any Auto Parts are purchased in the United States, and such

 Auto Parts do not constitute import commerce, the Defendants’ activities with respect thereto

 had, and continue to have, a direct, substantial and reasonably foreseeable effect on United States

 commerce. The anticompetitive conduct, and its effect on United States commerce described

 herein, proximately caused antitrust injury in the United States.

        16.     By reason of the unlawful activities hereinafter alleged, the Defendants’ unlawful

 activities substantially affected commerce throughout the United States, causing injury to

 GEICO. The Defendants, directly and through their agents, engaged in activities affecting all

 states to fix, raise, maintain and/or stabilize prices and to allocate markets in the United States

 for Auto Parts, which unreasonably restrained trade.

                                             PARTIES

                                        Plaintiffs - GEICO

        17.     Plaintiff GEICO Corporation is a Maryland corporation with its principal place of

 business in Chevy Chase, Maryland. GEICO Corporation purchased Auto Parts and reimbursed

 its insureds and third-party claimants for their purchase of Auto Parts from one or more

 Defendants during the Relevant Time Periods (defined below).

        18.     Government Employees Insurance Company is a Maryland corporation with its

 principal place of business in Bethesda, Maryland. It is a wholly-owned subsidiary of GEICO

 Corporation. Government Employees Insurance Company purchased Auto Parts and reimbursed

 its insureds and third-party claimants for their purchase of Auto Parts from one or more

 Defendants during the Relevant Time Periods.

        19.     GEICO General Insurance Company is an Maryland corporation with its principal

 place of business is in Chevy Chase, Maryland. It is a wholly-owned subsidiary of GEICO



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 Corporation. GEICO General Insurance Company purchased Auto Parts and reimbursed its

 insureds and third-party claimants for their purchase of Auto Parts from one or more Defendants

 during the Relevant Time Periods.

        20.    GEICO Indemnity Company is a Maryland corporation with its principal place of

 business in Washington, DC. GEICO Indemnity Company is a wholly-owned subsidiary of

 GEICO Corporation. GEICO Indemnity Company purchased Auto Parts and reimbursed its

 insureds and third-party claimants for their purchase of Auto Parts from one or more Defendants

 during the Relevant Time Periods.

        21.    GEICO Casualty Company is a Maryland corporation with its principal place of

 business in Washington, DC. It is a wholly-owned subsidiary of GEICO Corporation. GEICO

 Casualty Company purchased Auto Parts and reimbursed its insureds and third-party claimants

 for their purchase of Auto Parts from one or more Defendants during the Relevant Time Periods.

        22.    GEICO Advantage Insurance Company is a Nebraska Corporation with its

 principal place of business in Washington, DC. It is a wholly-owned subsidiary of GEICO

 Corporation. GEICO Advantage Insurance Company purchased Auto Parts and reimbursed its

 insureds and third-party claimants for their purchase of Auto Parts from one or more Defendants

 during the Relevant Time Periods.

        23.    GEICO Choice Insurance Company is a Nebraska corporation with its principal

 place of business in Washington, DC. It is a wholly-owned subsidiary of GEICO Corporation.

 GEICO Choice Insurance Company purchased Auto Parts and reimbursed its insureds and third-

 party claimants for their purchase of Auto Parts from one or more Defendants during the

 Relevant Time Periods.




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        24.     GEICO Secure Insurance Company is a Nebraska corporation with its principal

 place of business in Washington, DC. It is a wholly-owned subsidiary of GEICO Corporation.

 GEICO Secure Insurance Company purchased Auto Parts and reimbursed its insureds and third-

 party claimants for their purchase of Auto Parts from one or more Defendants during the

 Relevant Time Periods.

        25.     GEICO County Mutual Insurance Company is a Texas corporation with its

 principal place of business in Dallas, Texas. It is a wholly-owned subsidiary of GEICO

 Corporation. GEICO County Mutual Insurance Company purchased Auto Parts and reimbursed

 its insureds and third-party claimants for their purchase of Auto Parts from one or more

 Defendants during the Relevant Time Periods.

                                           Defendants

 The Autoliv Defendants

        26.     Autoliv, Inc. is a Delaware corporation with its principal place of business in

 Sweden. Defendant Autoliv, Inc.—directly and/or through its subsidiaries that it wholly owned

 and/or controlled—manufactured, marketed and/or sold Occupant Safety Restraint Systems that

 were purchased throughout the United States, including in this District during the Occupant

 Safety Restraint System Relevant Time Period (defined below).

        27.     Autoliv ASP, Inc. is an Indiana Corporation with its principal place of business in

 Ogden, Utah.    It is a subsidiary of and wholly owned and/or controlled by Autoliv, Inc.

 Defendant Autoliv ASP, Inc. manufactured, marketed and/or sold Occupant Safety Restraint

 Systems that were purchased throughout the United States, including in this District, during the

 Occupant Safety Restraint System Relevant Time Period. At all times during the Occupant




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 Safety Restraint System Relevant Time Period, its activities in the United States were under the

 control and direction of Autoliv, Inc.

        28.     Autoliv B.V. & Co. KG is a German company with its principal place of business

 in Elmshorn, Germany. It is a subsidiary of and wholly owned and/or controlled by Autoliv, Inc.

 Defendant Autoliv B.V. & Co. KG manufactured, marketed and/or sold Occupant Safety

 Restraint Systems that were purchased throughout the United States, including in this District,

 during the Occupant Safety Restraint System Relevant Time Period. At all times during the

 Occupant Safety Restraint System Relevant Time Period, its activities in the United States were

 under the control and direction of Autoliv, Inc.

        29.     Autoliv Safety Technology, Inc. is a Delaware corporation with its principal

 place of business in Auburn Hills, Michigan. It is a subsidiary of and wholly owned and/or

 controlled by Autoliv, Inc. Defendant Autoliv Safety Technology, Inc. manufactured, marketed

 and/or sold Occupant Safety Restraint Systems that were purchased throughout the United

 States, including in this District, during the Occupant Safety Restraint System Relevant Time

 Period. At all times during the Occupant Safety Restraint System Relevant Time Period, its

 activities in the United States were under the control and direction of Autoliv, Inc.

        30.     Autoliv Japan Ltd. is a Japanese corporation and a subsidiary of and wholly

 owned and/or controlled by Autoliv, Inc. Defendant Autoliv Japan Ltd. manufactured, marketed

 and/or sold Occupant Safety Restraint Systems that were purchased throughout the United

 States, including in this District, during the Occupant Safety Restraint System Relevant Time

 Period. At all times during the Occupant Safety Restraint System Relevant Time Period, its

 activities in the United States were under the control and direction of Autoliv, Inc.




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  HIAMS

         31.     Hitachi Automotive Systems, Ltd. (“HIAMS”) is a Japanese corporation.

  HIAMS—directly and/or through its subsidiaries that it wholly owned and/or controlled—

  manufactured, marketed and/or sold Air Flow Meters, Alternators, Electronic Throttle Bodies,

  Fuel Injection Systems, Ignition Coils, Inverters, Motor Generators, Starters and Valve Timing

  Control Devices that were purchased throughout the United States, including in this District,

  during the Relevant Time Periods.

  The Nippon Seiki Defendants

         32.     Nippon Seiki Co., Ltd. is a Japanese corporation. Defendant Nippon Seiki—

  directly and/or through its subsidiaries that it wholly owned and/or controlled—manufactured,

  marketed and/or sold Instrument Panel Clusters that were purchased throughout the United

  States, including in this District, during the Instrument Panel Clusters Relevant Time Period

  (defined below).

         33.     N.S. International, Ltd. is a California corporation with its principal place of

  business in Troy, Michigan. It is a subsidiary of and wholly owned and/or controlled by its

  parent, Nippon Seiki Co., Ltd. Defendant N.S. International, Ltd. manufactured, marketed

  and/or sold Instrument Panel Clusters that were purchased throughout the United States,

  including in this District, during the Instrument Panel Clusters Relevant Time Period. At all

  times during the Instrument Panel Clusters Relevant Time Period, its activities in the United

  States were under the control and direction of Nippon Seiki Co., Ltd.

         34.     New Sabina Industries, Inc. is an Ohio corporation with its principal place of

  business in Sabina, Ohio. It is a subsidiary of and wholly owned and/or controlled by its parent,

  Nippon Seiki Co., Ltd. Defendant New Sabina Industries, Inc. manufactured, marketed and/or



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  sold Instrument Panel Clusters that were purchased throughout the United States, including in

  this District, during the Instrument Panel Clusters Relevant Time Period. At all times during the

  Instrument Panel Clusters Relevant Time Period, its activities in the United States were under the

  control and direction of Nippon Seiki Co., Ltd.

  The Panasonic Defendants

         35.     Panasonic Corporation is a Japanese corporation. Defendant Panasonic

  Corporation—directly and/or through its subsidiaries, which it wholly owned and/or

  controlled—manufactured, marketed and/or sold HID Ballasts, Steering Angle Sensors and

  Switches that were purchased throughout the United States, including in this District, during the

  Relevant Time Periods.

         36.     Panasonic Corporation of North America is a Delaware corporation with its

  principal place of business in Newark, New Jersey. It is a subsidiary of and wholly owned and/or

  controlled by Panasonic Corporation.      Defendant Panasonic Corporation of North America

  manufactured, marketed and/or sold HID Ballasts, Steering Angle Sensors and Switches that

  were purchased throughout the United States, including in this District, during the Relevant Time

  Periods. At all times during the Relevant Time Periods, its activities in the United States were

  under the control and direction of Panasonic Corporation.

  The T.RAD Defendants

         37.     T.RAD Co. Ltd. is a Japanese company. Defendant T.RAD Co. Ltd.—directly

  and/or through its subsidiaries, which it wholly owned and/or controlled—manufactured,

  marketed and/or sold ATF Warmers and Radiators that were purchased throughout the United

  States, including in this District, during the Relevant Time Periods.




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         38.    T. RAD North America, Inc. is a Delaware corporation with its principal place of

  business in Hopkinsville, Kentucky. It is a subsidiary of and wholly owned and/or controlled by

  its parent, T.RAD Co., Ltd. Defendant T.RAD North America, Inc. manufactured, marketed

  and/or sold ATF Warmers and Radiators that were purchased throughout the United States,

  including in this District, during the Relevant Time Periods. At all time during the Relevant

  Time Periods, its activities in the United States were under the control and direction of T.RAD

  Co. Ltd.

  The TRW Defendants

         39.    TRW Deutschland Holding GmbH is a German company. It is a subsidiary of and

  wholly owned and/or controlled by its parents, TRW Auto B.V. and Zeppelin-Stiftung.

  Defendant TRW GMBH manufactured, marketed and/or sold Occupant Safety Restraint Systems

  that were purchased throughout the United States, including in this District, during the Occupant

  Safety Restraint System Relevant Time Period.

         40.    ZF TRW Automotive Holdings Corporation is a Delaware Corporation with its

  principal place of business in Livonia, Michigan. It is a subsidiary of and wholly owned and/or

  controlled by its parents, ZF North America, Inc. and Zeppelin-Stiftung. Defendant TRW

  manufactured, marketed and/or sold Occupant Safety Restraint Systems that were purchased

  throughout the United States, including in this District, during the Occupant Safety Restraint

  Systems Relevant Time Period.

                             AGENTS AND CO-CONSPIRATORS

         41.    Each Defendant acted as the principal of or agent for the other Defendants with

  respect to the acts, violations and common course of conduct alleged.




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         42.     Others have participated as co-conspirators with the Defendants in the offenses

  alleged in this Complaint—including, but not limited to, non-settling defendants from the In re

  Automotive Parts Antitrust Litigation, MDL No. 2311, various persons, partnerships, sole

  proprietors, firms, corporations and individuals not named as Defendants in this lawsuit, and

  other individuals whose identities are presently unknown—and have performed acts and made

  statements in furtherance of the conspiracies.

         43.     In this Complaint, when reference is made to any act, deed or transaction of any

  corporation, limited liability entity or other business structure, the allegation means that the

  corporation, limited liability entity or business engaged in the act, deed or transaction by or

  through its officers, directors, agents, employees or representatives while they were actively

  engaged in the management, direction, control or transaction of the business or affairs of the

  corporation, limited liability entity or business.

                                     FACTUAL ALLEGATIONS

  I.     Defendants’ Conspiracies Implicated Multiple Auto Parts

         44.     Defendants and their co-conspirators agreed to fix prices and allocate markets for

  the following Auto Parts.

                 A.      Air Flow Meters

         45.     “Air Flow Meters” measure the volume of air flowing into engines and are part of

  the engine management systems and automotive sensors segment of the automotive market.

         46.     Original equipment manufacturers (“OEMs”) install Air Flow Meters in new cars

  as part of the automotive manufacturing process. OEMs purchase Air Flow Meters directly from

  HIAMS for installation in new vehicles. When purchasing Air Flow Meters, OEMs issue

  Requests for Quotation (“RFQs”) to automotive parts suppliers. Automotive parts suppliers



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  submit quotations, or bids, to OEMs in response to RFQs. The OEMs will then select an

  automotive parts supplier and enter into contracts typically lasting for four to six years.

            47.   Repair professionals also install Air Flow Meters in cars to replace worn out,

  defective or damaged parts.

            48.   HIAMS and its co-conspirators supplied Air Flow Meters to OEMs for

  installation in vehicles manufactured and sold in the United States and elsewhere. HIAMS and

  its co-conspirators also supplied Air Flow Meters to automotive repair professionals located in

  the United States. HIAMS and its co-conspirators manufactured Air Flow Meters (a) in the

  United States for installation in vehicles manufactured, sold or repaired in the United States; (b)

  in Japan and elsewhere for export to the United States and for installation in vehicles

  manufactured, sold or repaired in the United States; and (c) in Japan and elsewhere for

  installation in vehicles manufactured in Japan and elsewhere for export to and sale in the United

  States.

            49.   GEICO purchased or reimbursed its insureds and third-party claimants for Air

  Flow Meters from HIAMS. GEICO (a) directly paid repair professionals for Air Flow Meters

  after the repair professional repaired its insureds or claimants’ vehicles; (b) reimbursed its

  insureds or claimants for their purchase of Air Flow Meters from repair professionals; or (c)

  reimbursed its insureds and claimants for the price of Air Flow Meters in circumstances when

  the insured or claimant made a decision not to buy the part and make the repair. GEICO also

  reimbursed its insureds and claimants for the full value of the vehicle, including Air Flow Meter

  parts, when the vehicle was declared a total loss.




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                 B.      Alternators

         50.     “Alternators” are devices that charge a vehicle’s battery and power the electrical

  system of a vehicle when its engine is running.

         51.     OEMs install Alternators in new cars as part of the automotive manufacturing

  process. OEMs purchase Alternators directly from HIAMS for installation in new vehicles.

  When purchasing Alternators, OEMs issue RFQs to automotive parts suppliers. Automotive

  parts suppliers submit quotations, or bids, to OEMs in response to RFQs. The OEMs will then

  select an automotive parts supplier and enter into contracts typically lasting for four to six years.

         52.     Repair professionals also install Alternators in cars to replace worn out, defective

  or damaged parts.

         53.     HIAMS and its co-conspirators supplied Alternators to OEMs for installation in

  vehicles manufactured and sold in the United States and elsewhere. HIAMS and its co-

  conspirators also supplied Alternators to automotive repair professionals located in the United

  States. HIAMS and its co-conspirators manufactured Alternators (a) in the United States for

  installation in vehicles manufactured, sold or repaired in the United States; (b) in Japan and

  elsewhere for export to the United States and for installation in vehicles manufactured, sold or

  repaired in the United States; and (c) in Japan and elsewhere for installation in vehicles

  manufactured in Japan and elsewhere for export to and sale in the United States.

         54.     GEICO purchased or reimbursed its insureds and third-party claimants for

  Alternators from HIAMS. GEICO (a) directly paid repair professionals for Alternators after the

  repair professional repaired one of its insureds or claimants’ vehicles; (b) reimbursed its insureds

  or claimants for their purchase of Alternators from repair professionals; or (c) reimbursed its

  insureds and claimants for the price of Alternators in circumstances when the insured or claimant



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  made a decision not to buy the part and make the repair. GEICO also reimbursed its insureds

  and claimants for the full value of the vehicle, including Alternator parts, when the vehicle was

  declared a total loss.

                  C.       ATF Warmers

          55.     “ATF Warmers” are devices that charge a vehicle’s battery and power the

  electrical system of a vehicle when its engine is running.

          56.     OEMs install ATF Warmers in new cars as part of the automotive manufacturing

  process. OEMs purchase ATF Warmers directly from T.RAD for installation in new vehicles.

  When purchasing ATF Warmers, OEMs issue RFQs to automotive parts suppliers. Automotive

  parts suppliers submit quotations, or bids, to OEMs in response to RFQs. The OEMs will then

  select an automotive parts supplier and enter into contracts typically lasting for four to six years.

          57.     Repair professionals also install ATF Warmers vehicles to replace worn out,

  defective or damaged parts.

          58.     T.RAD and its co-conspirators supplied ATF Warmers to OEMs for installation in

  vehicles manufactured and sold in the United States and elsewhere. T.RAD and its co-

  conspirators also supplied ATF Warmers to automotive repair professionals located in the United

  States. T.RAD and its co-conspirators manufactured ATF Warmers (a) in the United States for

  installation in vehicles manufactured, sold or repaired in the United States; (b) in Japan and

  elsewhere for export to the United States and for installation in vehicles manufactured, sold or

  repaired in the United States; and (c) in Japan and elsewhere for installation in vehicles

  manufactured in Japan and elsewhere for export to and sale in the United States.

          59.     GEICO purchased or reimbursed its insureds and third-party claimants for ATF

  Warmers from T.RAD. GEICO (a) directly paid repair professionals for ATF Warmers after the



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  repair professional repaired one of its insureds or claimants’ vehicles; (b) reimbursed its insureds

  or claimants for their purchase of ATF Warmers from repair professionals; or (c) reimbursed its

  insureds and claimants for the price of ATF Warmers in circumstances when the insured or

  claimant made a decision not to buy the part and make the repair. GEICO also reimbursed its

  insureds and claimants for the full value of the vehicle, including ATF Warmer parts, when the

  vehicle was declared a total loss.

                  D.      Electronic Throttle Bodies

          60.     “Electronic Throttle Bodies” control the amount of air flowing into a vehicle’s

  engine and are a main part of an electronic throttle control system.

          61.     OEMs install Electronic Throttle Bodies in new cars as part of the automotive

  manufacturing process. OEMs purchase Electronic Throttle Bodies directly from HIAMS for

  installation in new vehicles. When purchasing Electronic Throttle Bodies, OEMs issue RFQs to

  automotive parts suppliers. Automotive parts suppliers submit quotations, or bids, to OEMs in

  response to RFQs. The OEMs will then select an automotive parts supplier and enter into

  contracts typically lasting for four to six years.

          62.     Repair professionals also install Electronic Throttle Bodies in cars to replace worn

  out, defective or damaged parts.

          63.     HIAMS and its co-conspirators supplied Electronic Throttle Bodies to OEMs for

  installation in vehicles manufactured and sold in the United States and elsewhere. HIAMS and

  its co-conspirators also supplied Electronic Throttle Bodies to automotive repair professionals

  located in the United States. HIAMS and its co-conspirators manufactured Electronic Throttle

  Bodies (a) in the United States for installation in vehicles manufactured, sold or repaired in the

  United States; (b) in Japan and elsewhere for export to the United States and for installation in



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  vehicles manufactured, sold or repaired in the United States; and (c) in Japan and elsewhere for

  installation in vehicles manufactured in Japan and elsewhere for export to and sale in the United

  States.

            64.   GEICO purchased or reimbursed its insureds and third-party claimants for

  Electronic Throttle Bodies from HIAMS. GEICO (a) directly paid repair professionals for

  Electronic Throttle Bodies after the repair professional repaired its insureds or claimants’

  vehicles; (b) reimbursed its insureds or claimants for their purchase of Electronic Throttle Bodies

  from repair professionals; or (c) reimbursed its insureds and claimants for the price of Electronic

  Throttle Bodies in circumstances when the insured or claimant made a decision not to buy the

  part and make the repair. GEICO also reimbursed its insureds and claimants for the full value of

  the vehicle, including Electronic Throttle Bodies, when the vehicle was declared a total loss.

                  E.     Fuel Injection Systems

            65.   “Fuel Injection Systems” admit fuel or a fuel/air mixture into engine cylinders and

  may include injectors, high pressure pumps, rail assemblies, feed lines, electronic throttle bodies,

  airflow meters, engine electronic control units, fuel pumps, fuel pump modules, manifold

  absolute pressure sensors, pressure regulators, pulsation dampers, purge control valves and other

  components sold as a unitary system. In some instances, the component parts of a Fuel Injection

  System are sourced separately while in other instances they are sourced together. Fuel Injection

  Systems can also be sold as part of a broader system, such as an engine management system.

            66.   OEMs install Fuel Injection Systems in new cars as part of the automotive

  manufacturing process. OEMs purchase Fuel Injection Systems directly from HIAMS for

  installation in new vehicles. When purchasing Fuel Injection Systems, OEMs issue RFQs to

  automotive parts suppliers. Automotive parts suppliers submit quotations, or bids, to OEMs in



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  response to RFQs. The OEMs will then select an automotive parts supplier and enter into

  contracts typically lasting for four to six years.

            67.   Repair professionals also install Fuel Injection Systems in cars to replace worn

  out, defective or damaged parts.

            68.   HIAMS and its co-conspirators supplied Fuel Injection Systems to OEMs for

  installation in vehicles manufactured and sold in the United States and elsewhere. HIAMS and

  its co-conspirators also supplied Fuel Injection Systems to automotive repair professionals

  located in the United States.      HIAMS and its co-conspirators manufactured Fuel Injection

  Systems (a) in the United States for installation in vehicles manufactured, sold or repaired in the

  United States; (b) in Japan and elsewhere for export to the United States and for installation in

  vehicles manufactured, sold or repaired in the United States; and (c) in Japan and elsewhere for

  installation in vehicles manufactured in Japan and elsewhere for export to and sale in the United

  States.

            69.   GEICO purchased or reimbursed its insureds and third-party claimants for Fuel

  Injection Systems from HIAMS. GEICO (a) directly paid repair professionals for Fuel Injection

  Systems after the repair professional repaired one of its insureds or claimants’ vehicles; (b)

  reimbursed its insureds or claimants for their purchase of Fuel Injection Systems from repair

  professionals; or (c) reimbursed its insureds and claimants for the price of Fuel Injection Systems

  in circumstances when the insured or claimant made a decision not to buy the parts and make the

  repair. GEICO also reimbursed its insureds and claimants for the full value of the vehicle,

  including Fuel Injection System parts, when the vehicle was declared a total loss.




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                 F.      High Intensity Discharge Ballasts

         70.     “High Intensity Discharge Ballasts” or “HID Ballasts” is an electrical device that

  limits the amount of electrical current flowing to an HID headlamp, which would otherwise rise

  to destructive levels due to the HID headlamp’s negative resistance.

         71.     OEMs install HID Ballasts in new cars as part of the automotive manufacturing

  process. OEMs purchase HID Ballasts directly from Panasonic for installation in new vehicles.

  When purchasing HID Ballasts, OEMs issue RFQs to automotive parts suppliers. Automotive

  parts suppliers submit quotations, or bids, to OEMs in response to RFQs. The OEMs will then

  select an automotive parts supplier and enter into contracts typically lasting for four to six years.

         72.     Repair professionals also install HID Ballasts in cars to replace worn out,

  defective or damaged parts.

         73.     Panasonic and its co-conspirators supplied HID Ballasts to OEMs for installation

  in vehicles manufactured and sold in the United States and elsewhere. Panasonic and its co-

  conspirators also supplied HID Ballasts to automotive repair professionals located in the United

  States. Panasonic and its co-conspirators manufactured HID Ballasts (a) in the United States for

  installation in vehicles manufactured, sold or repaired in the United States; (b) in Japan and

  elsewhere for export to the United States and for installation in vehicles repaired in the United

  States; and (c) in Japan and elsewhere for installation in vehicles manufactured in Japan and

  elsewhere for export to and sale in the United States.

         74.     GEICO purchased or reimbursed its insureds and third-party claimants for HID

  Ballasts from Panasonic. GEICO (a) directly paid repair professionals for HID Ballasts after the

  repair professional repaired one of its insureds or claimants’ vehicles; (b) reimbursed its insureds

  or claimants for their purchase of HID Ballasts from repair professionals; or (c) reimbursed its



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  insureds and claimants for the price of HID Ballasts in circumstances when the insured or

  claimant made a decision not to buy the part and make the repair. GEICO also reimbursed its

  insureds and claimants for the full value of the vehicle, including HID Ballasts, when the vehicle

  was declared a total loss.

                 G.      Ignition Coils

         75.     “Ignition Coils” are part of the fuel ignition system of an automobile and release

  electric energy suddenly to ignite a fuel mixture.

         76.     OEMs install Ignition Coils in new cars as part of the automotive manufacturing

  process. OEMs purchase Ignition Coils directly from HIAMS for installation in new vehicles.

  When purchasing Ignition Coils, OEMs issue RFQs to automotive parts suppliers. Automotive

  parts suppliers submit quotations, or bids, to OEMs in response to RFQs. The OEMs will then

  select an automotive parts supplier and enter into contracts typically lasting for four to six years.

         77.     Repair professionals also install Ignition Coils in cars to replace worn out,

  defective or damaged parts.

         78.     HIAMS and its co-conspirators supplied Ignition Coils to OEMs for installation in

  vehicles manufactured and sold in the United States and elsewhere. HIAMS and its co-

  conspirators also supplied Ignition Coils to automotive repair professionals located in the United

  States. HIAMS and its co-conspirators manufactured Ignition Coils (a) in the United States for

  installation in vehicles manufactured, sold or repaired in the United States; (b) in Japan and

  elsewhere for export to the United States and for installation in vehicles repaired in the United

  States; and (c) in Japan and elsewhere for installation in vehicles manufactured in Japan and

  elsewhere for export to and sale in the United States.




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          79.     GEICO purchased or reimbursed its insureds and third-party claimants for

  Ignition Coils from HIAMS. GEICO (a) directly paid repair professionals for Ignition Coils after

  the repair professional repaired one of its insureds or claimants’ vehicles; (b) reimbursed its

  insureds or claimants for their purchase of Ignition Coils from repair professionals; or (c)

  reimbursed its insureds and claimants for the price of Ignition Coils in circumstances when the

  insured or claimant made a decision not to buy the part and make the repair. GEICO also

  reimbursed its insureds and claimants for the full value of the vehicle, including Ignition Coil

  parts, when the vehicle was declared a total loss.

                  H.      Instrument Panel Clusters

          80.     “Instrument Panel Clusters” also known as meters, are the mounted array of

  instruments and gauges housed in front of the driver of an automobile.

          81.     OEMs install Instrument Panel Clusters in new cars as part of the automotive

  manufacturing process. OEMs purchase Instrument Panel Clusters directly from Nippon Seiki

  for installation in new vehicles. When purchasing Instrument Panel Clusters, OEMs issue RFQs

  to automotive parts suppliers. Automotive parts suppliers submit quotations, or bids, to OEMs in

  response to RFQs. The OEMs will then select an automotive parts supplier and enter into

  contracts typically lasting for four to six years.

          82.     Repair professionals also install Instrument Panel Clusters in cars to replace worn

  out, defective or damaged parts.

          83.     Nippon Seiki and its co-conspirators supplied Instrument Panel Clusters to OEMs

  for installation in vehicles manufactured and sold in the United States and elsewhere. Nippon

  Seiki and its co-conspirators also supplied Instrument Panel Clusters to automotive repair

  professionals located in the United States. Nippon Seiki and its co-conspirators manufactured



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  Instrument Panel Clusters (a) in the United States for installation in vehicles manufactured, sold

  or repaired in the United States; (b) in Japan and elsewhere for export to the United States and

  for installation in vehicles manufactured, sold or repaired in the United States; and (c) in Japan

  and elsewhere for installation in vehicles manufactured in Japan and elsewhere for export to and

  sale in the United States.

          84.     GEICO purchased or reimbursed its insureds and third-party claimants for

  Instrument Panel Clusters from Nippon Seiki. GEICO (a) directly paid repair professionals for

  Instrument Panel Clusters after the repair professional repaired one of its insureds or claimants’

  vehicles; (b) reimbursed its insureds or claimants for their purchase of Instrument Panel Clusters

  from repair professionals; or (c) reimbursed its insureds and claimants for the price of Instrument

  Panel Clusters in circumstances when the insured or claimant made a decision not to buy the part

  and make the repair. GEICO also reimbursed its insureds and claimants for the full value of the

  vehicle, including Instrument Panel Cluster parts, when the vehicle was declared a total loss.

                  I.      Inverters

          85.     “Inverters” provide power to motors by converting direct current electricity from

  a vehicle’s battery to alternating current electricity.

          86.     OEMs install Inverters in new cars as part of the automotive manufacturing

  process. OEMs purchase Inverters directly from HIAMS for installation in new vehicles. When

  purchasing Inverters, OEMs issue RFQs to automotive parts suppliers. Automotive parts

  suppliers submit quotations, or bids, to OEMs in response to RFQs. The OEMs will then select

  an automotive parts supplier and enter into contracts typically lasting for four to six years.

          87.     Repair professionals also install Inverters in cars to replace worn out, defective or

  damaged Inverter parts.



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          88.     HIAMS and its co-conspirators supplied Inverters to OEMs for installation in

  vehicles manufactured and sold in the United States and elsewhere. HIAMS and its co-

  conspirators also supplied Inverters to automotive repair professionals located in the United

  States. HIAMS and its co-conspirators manufactured Inverters (a) in the United States for

  installation in vehicles manufactured, sold or repaired in the United States; (b) in Japan and

  elsewhere for export to the United States and for installation in vehicles repaired in the United

  States; and (c) in Japan and elsewhere for installation in vehicles manufactured in Japan and

  elsewhere for export to and sale in the United States.

          89.     GEICO purchased or reimbursed its insureds and third-party claimants for

  Inverters from HIAMS. GEICO (a) directly paid repair professionals for Inverters after the

  repair professional repaired one of its insureds or claimants’ vehicles; (b) reimbursed its insureds

  or claimants for their purchase of Inverters from repair professionals; or (c) reimbursed its

  insureds and claimants for the price of Inverters in circumstances when the insured or claimant

  made a decision not to buy the part and make the repair. GEICO also reimbursed its insureds

  and claimants for the full value of the vehicle, including Inverter parts, when the vehicle was

  declared a total loss.

                  J.       Motor Generators

          90.     “Motor Generators” are electric motors used to power electric drive systems that

  can also capture energy from the process of stopping a vehicle to generate electricity through

  regenerative braking.

          91.     OEMs install Motor Generators in new cars as part of the automotive

  manufacturing process. OEMs purchase Inverters directly from HIAMS for installation in new

  vehicles. When purchasing Inverters, OEMs issue RFQs to automotive parts suppliers.



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  Automotive parts suppliers submit quotations, or bids, to OEMs in response to RFQs. The OEMs

  will then select an automotive parts supplier and enter into contracts typically lasting for four to

  six years.

            92.   Repair professionals also install Motor Generators in cars to replace worn out,

  defective or damaged Inverter parts.

            93.   HIAMS and its co-conspirators supplied Motor Generators to OEMs for

  installation in vehicles manufactured and sold in the United States and elsewhere. HIAMS and

  its co-conspirators also supplied Motor Generators to automotive repair professionals located in

  the United States. HIAMS and its co-conspirators manufactured Motor Generators (a) in the

  United States for installation in vehicles manufactured, sold or repaired in the United States; (b)

  in Japan and elsewhere for export to the United States and for installation in vehicles

  manufactured, sold or repaired in the United States; and (c) in Japan and elsewhere for

  installation in vehicles manufactured in Japan and elsewhere for export to and sale in the United

  States.

            94.   GEICO purchased or reimbursed its insureds and third-party claimants for Motor

  Generators from HIAMS. GEICO (a) directly paid repair professionals for Motor Generators

  after the repair professional repaired one of its insureds or claimants’ vehicles; (b) reimbursed its

  insureds or claimants for their purchase of Motor Generators from repair professionals; or (c)

  reimbursed its insureds and claimants for the price of Motor Generators in circumstances when

  the insured or claimant made a decision not to buy the part and make the repair. GEICO also

  reimbursed its insureds and claimants for the full value of the vehicle, including Motor Generator

  parts, when the vehicle was declared a total loss.




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                 K.      Occupant Safety Restraint Systems

         95.     “Occupant Safety Restraint Systems” are generally comprised of the parts in an

  automotive vehicle that protect drivers and passengers from bodily harm. Occupant Safety

  Restraint Systems include seat belts, air bags, steering wheels (or steering systems) and safety

  electronic systems.

         96.     OEMs install Occupant Safety Restraint Systems in new cars as part of the

  automotive manufacturing process. OEMs purchase Occupant Safety Restraint Systems directly

  from Autoliv and TRW for installation in new vehicles. When purchasing Occupant Safety

  Restraint Systems, OEMs issue RFQs to automotive parts suppliers. Automotive parts suppliers

  submit quotations, or bids, to OEMs in response to RFQs. The OEMs will then select an

  automotive parts supplier and enter into contracts typically lasting for four to six years.

         97.     Repair professionals also install Occupant Safety Restraint Systems in cars to

  replace worn out, defective or damaged Occupant Safety Restraint System parts.

         98.     Autoliv, TRW and their co-conspirators supplied Occupant Safety Restraint

  Systems to OEMs for installation in vehicles manufactured and sold in the United States and

  elsewhere. Autoliv, TRW and their co-conspirators also supplied Occupant Safety Restraint

  Systems to automotive repair professionals located in the United States. Autoliv, TRW and their

  co-conspirators manufactured Occupant Safety Restraint Systems (a) in the United States for

  installation in vehicles manufactured, sold or repaired in the United States; (b) in Japan and

  elsewhere for export to the United States and for installation in vehicles repaired in the United

  States; and (c) in Japan and elsewhere for installation in vehicles manufactured in Japan and

  elsewhere for export to and sale in the United States.




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         99.     GEICO purchased or reimbursed its insureds and third-party claimants for

  Occupant Safety Restraint Systems from Autoliv and TRW. GEICO (a) directly paid repair

  professionals for Occupant Safety Restraint Systems after the repair professionals repaired one of

  its insureds or claimants’ vehicles; (b) reimbursed its insureds or claimants for their purchase of

  Occupant Safety Restraint Systems from repair professionals; or (c) reimbursed its insureds and

  claimants for the price of Occupant Safety Restraint Systems in circumstances when the insured

  or claimant made a decision not to buy the part and make the repair. GEICO also reimbursed its

  insureds and claimants for the full value of the vehicle, including Occupant Safety Restraint

  System parts, when the vehicle was declared a total loss.

         100.    The global Occupant Safety Restraint System market is dominated and controlled

  by large manufacturers. During the majority of the Occupant Safety Restraint System Relevant

  Time Period, Defendants Autoliv and TRW were two of the three largest manufacturers of

  Occupant Safety Restraint Systems, comprising almost 53% of the global market share. Autoliv

  has accounted for 33% of the global Occupant Safety Restraint System market.

                 L.      Radiators

         101.    “Radiators” are devices located in the engine compartment of a vehicle that cool

  the engine and include radiator fans. Radiators are replaced when a vehicle consistently

  overheats.

         102.    OEMs install Radiators in new cars as part of the automotive manufacturing

  process. OEMs purchase Radiators directly from T.RAD for installation in new vehicles. When

  purchasing Radiators, OEMs issue RFQs to automotive parts suppliers. Automotive parts

  suppliers submit quotations, or bids, to OEMs in response to RFQs. The OEMs will then select

  an automotive parts supplier and enter into contracts typically lasting for four to six years.



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          103.    Repair professionals also install Radiators in cars to replace worn out, defective or

  damaged Radiator parts.

          104.    T.RAD and its co-conspirators supplied Radiators to OEMs for installation in

  vehicles manufactured and sold in the United States and elsewhere. T.RAD and its co-

  conspirators also supplied Radiators to automotive repair professionals located in the United

  States. T.RAD and its co-conspirators manufactured Radiators (a) in the United States for

  installation in vehicles manufactured, sold or repaired in the United States; (b) in Japan and

  elsewhere for export to the United States and for installation in vehicles manufactured, sold or

  repaired in the United States; and (c) in Japan and elsewhere for installation in vehicles

  manufactured in Japan and elsewhere for export to and sale in the United States.

          105.    GEICO purchased or reimbursed its insureds and third-party claimants for

  Radiators from HIAMS. GEICO (a) directly paid repair professionals for Radiators after the

  repair professional repaired one of its insureds or claimants’ vehicles; (b) reimbursed its insureds

  or claimants for their purchase of Radiators from repair professionals; or (c) reimbursed its

  insureds and claimants for the price of Radiators in circumstances when the insured or claimant

  made a decision not to buy the part and make the repair. GEICO also reimbursed its insureds

  and claimants for the full value of the vehicle, including Radiator parts, when the vehicle was

  declared a total loss.

                  M.       Starters

          106.    “Starters” or “Starter Motors” are devices that power a vehicle’s battery to “turn

  over” and start when the driver turns the ignition switch. When a Starter is damaged, a vehicle

  will not turn on.




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            107.   OEMs install Starters in new cars as part of the automotive manufacturing

  process. OEMs purchase Starters directly from HIAMS for installation in new vehicles. When

  purchasing Starters, OEMs issue RFQs to automotive parts suppliers. Automotive parts suppliers

  submit quotations, or bids, to OEMs in response to RFQs. The OEMs will then select an

  automotive parts supplier and enter into contracts typically lasting for four to six years.

            108.   Repair professionals also install Starters in cars to replace worn out, defective or

  damaged Starter parts.

            109.   HIAMS and its co-conspirators supplied Starters to OEMs for installation in

  vehicles manufactured and sold in the United States and elsewhere. HIAMS and its co-

  conspirators also supplied Starters to automotive repair professionals located in the United

  States.    HIAMS and its co-conspirators manufactured Starters (a) in the United States for

  installation in vehicles manufactured, sold or repaired in the United States; (b) in Japan and

  elsewhere for export to the United States and for installation in vehicles repaired in the United

  States; and (c) in Japan and elsewhere for installation in vehicles manufactured in Japan and

  elsewhere for export to and sale in the United States.

            110.   GEICO purchased or reimbursed its insureds and third-party claimants for Starters

  from HIAMS. GEICO (a) directly paid repair professionals for Starters after the repair

  professional repaired one of its insureds or claimants’ vehicles; (b) reimbursed its insureds or

  claimants for their purchase of Starters from repair professionals; or (c) reimbursed its insureds

  and claimants for the price of Starters in circumstances when the insured or claimant made a

  decision not to buy the part and make the repair. GEICO also reimbursed its insureds and

  claimants for the full value of the vehicle, including Starter parts, when the vehicle was declared

  a total loss.



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                  N.      Steering Angle Sensors

          111.    “Steering Angle Sensors” are installed on the steering column of a vehicle and

  may be connected to, and part of, a combination switch. Steering Angle Sensors detect the angle

  of the vehicle’s wheels during turns and send signals to the vehicle stability control system,

  which maintains the vehicle’s stability during turns.

          112.    OEMs install Steering Angle Sensors in new cars as part of the automotive

  manufacturing process. OEMs purchase Steering Angle Sensors directly from Panasonic for

  installation in new vehicles. When purchasing Steering Angle Sensors, OEMs issue RFQs to

  automotive parts suppliers. Automotive parts suppliers submit quotations, or bids, to OEMs in

  response to RFQs. The OEMs will then select an automotive parts supplier and enter into

  contracts typically lasting for four to six years.

          113.    Repair professionals also install Steering Angle Sensors in cars to replace worn

  out, defective or damaged Steering Angle Sensor parts.

          114.    Panasonic and its co-conspirators supplied Steering Angle Sensors to OEMs for

  installation in vehicles manufactured and sold in the United States and elsewhere. Panasonic and

  its co-conspirators also supplied Steering Angle Sensors to automotive repair professionals

  located in the United States. Panasonic and its co-conspirators manufactured Steering Angle

  Sensors (a) in the United States for installation in vehicles manufactured, sold or repaired in the

  United States; (b) in Japan and elsewhere for export to the United States and for installation in

  vehicles repaired in the United States; and (c) in Japan and elsewhere for installation in vehicles

  manufactured in Japan and elsewhere for export to and sale in the United States.

          115.    GEICO purchased or reimbursed its insureds and third-party claimants for

  Steering Angle Sensors from Panasonic. GEICO (a) directly paid repair professionals for



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  Steering Angle Sensors after the repair professional repaired one of its insureds or claimants’

  vehicles; (b) reimbursed its insureds or claimants for their purchase of Steering Angle Sensors

  from repair professionals; or (c) reimbursed its insured and claimants for the price of Steering

  Angle Sensors in circumstances when the insured or claimant made a decision not to buy the part

  and make the repair. GEICO also reimbursed its insureds and claimants for the full value of the

  vehicle, including Steering Angle Sensor parts, when the vehicle was declared a total loss.

                 O.      Switches

         116.    “Switches” include one or more of the following: steering wheel switches, turn

  switches, wiper switches, combination switches and door courtesy switches.

         117.    OEMs install Switches in new cars as part of the automotive manufacturing

  process. OEMs purchase Switches directly from Panasonic for installation in new vehicles.

  When purchasing Switches, OEMs issue RFQs to automotive parts suppliers. Automotive parts

  suppliers submit quotations, or bids, to OEMs in response to RFQs. The OEMs will then select

  an automotive parts supplier and enter into contracts typically lasting for four to six years.

         118.    Repair professionals also install Switches to replace worn out, defective or

  damaged parts.

         119.    Panasonic and its co-conspirators supplied Switches to OEMs for installation in

  vehicles manufactured and sold in the United States and elsewhere. Panasonic and its co-

  conspirators also supplied Switches to automotive repair professionals located in the United

  States. Panasonic and its co-conspirators manufactured Switches (a) in the United States for

  installation in vehicles manufactured, sold or repaired in the United States; (b) in Japan and

  elsewhere for export to the United States and for installation in vehicles manufactured, sold or




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  repaired in the United States; and (c) in Japan and elsewhere for installation in vehicles

  manufactured in Japan and elsewhere for export to and sale in the United States.

          120.    GEICO purchased or reimbursed its insureds and third-party claimants for

  Switches from Panasonic. GEICO (a) directly paid repair professionals for Switches after the

  repair professional repaired one of its insureds or claimants’ vehicles; (b) reimbursed its insureds

  or claimants for their purchase of Switches from repair professionals; or (c) reimbursed its

  insureds and claimants for the price of Switches in circumstances when the insured or claimant

  made a decision not to buy the part and make the repair. GEICO also reimbursed its insureds

  and claimants for the full value of the vehicle, including Switch parts, when the vehicle was

  declared a total loss.

                  P.       Valve Timing Control Devices

          121.    “Valve Timing Control Devices” or “Variable Valve Timing Systems” control the

  opening/closing timing of the intake valve and exhaustive valve according to driving conditions

  and are part of the engine management system of the automotive market. Each Valve Timing

  Control Device includes the variable cam timing (“VCT”), actuator and/or solenoid valve. In

  addition, some Valve Timing Control Devices contain an oil flow control valve (“OCV”). Valve

  Timing Control Manufacturers sell VCTs and OCVs together and separately.

          122.    OEMs install Valve Timing Control Devices in new cars as part of the automotive

  manufacturing process. OEMs purchase Valve Timing Control Devices directly from HIAMS for

  installation in new vehicles. When purchasing Valve Timing Control Devices, OEMs issue RFQs

  to automotive parts suppliers. Automotive parts suppliers submit quotations, or bids, to OEMs in

  response to RFQs. The OEMs will then select an automotive parts supplier and enter into

  contracts typically lasting for four to six years.



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            123.   Repair professionals also install Valve Timing Control Devices in cars to replace

  worn out, defective or damaged parts.

            124.   HIAMS and its co-conspirators supplied Valve Timing Control Devices to OEMs

  for installation in vehicles manufactured and sold in the United States and elsewhere. HIAMS

  and its co-conspirators also supplied Valve Timing Control Devices to automotive repair

  professionals located in the United States. HIAMS and its co-conspirators manufactured Valve

  Timing Control Devices (a) in the United States for installation in vehicles manufactured, sold or

  repaired in the United States; (b) in Japan and elsewhere for export to the United States and for

  installation in vehicles repaired in the United States; and (c) in Japan and elsewhere for

  installation in vehicles manufactured in Japan and elsewhere for export to and sale in the United

  States.

            125.   GEICO purchased or reimbursed its insureds and third-party claimants for Valve

  Timing Control Devices from HIAMS. GEICO (a) directly paid repair professionals for Valve

  Timing Control Devices after the repair professional repaired one of its insureds or claimants’

  vehicles; (b) reimbursed its insureds or claimants for their purchase of Valve Timing Control

  Devices from repair professionals; or (c) reimbursed its insureds and claimants for the price of

  Valve Timing Control Devices in circumstances when the insured or claimant made a decision

  not to buy the part and make the repair. GEICO also reimbursed its insureds and claimants for

  the full value of the vehicle, including Valve Timing Control Device parts, when the vehicle was

  declared a total loss.

  II.       Defendants and Their Co-Conspirators Entered into Multiple Auto Part
            Conspiracies

            126.   Defendants and their co-conspirators entered into numerous Auto Parts

  conspiracies to fix prices and allocate markets. According to Scott D. Hammond, former

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  Assistant Attorney General of DOJ’s Antitrust Division’s Criminal Enforcement Program, in

  September 2013, there were more than a dozen separate conspiracies each operating

  independently but all targeting the U.S. automotive industry. The Auto Parts conspiracies

  challenged in this Complaint include:

         (a)    Air Flow Meters Conspiracy: HIAMS conspired with other manufacturers of Air

         Flow Meters to fix, raise, stabilize and control prices of and/or allocate markets for Air

         Flow Meters from January 2000 to at least 2015 (“Air Flow Meters Relevant Time

         Period”). The Air Flow Meters Conspiracy caused GEICO to pay supra-competitive

         prices for Air Flow Meters and thus injured GEICO in its business. The anticompetitive

         effects of HIAMS and its co-conspirators’ unlawful conduct continue to be felt.

         (b)    Alternators Conspiracy:       HIAMS conspired with other manufacturers of

         Alternators to fix, raise, stabilize and control prices of and/or allocate markets for

         Alternators from January 2000 to at least 2015 (“Alternators Relevant Time Period”).

         The Alternators Conspiracy caused GEICO to pay supra-competitive prices for

         Alternators and thus injured GEICO in its business. The anticompetitive effects of

         HIAMS and its co-conspirators’ unlawful conduct continue to be felt.

         (c)    ATF Warmers Conspiracy: T.RAD conspired with other manufacturers of ATF

         Warmers to fix, raise, stabilize and control prices of and/or allocate markets for ATF

         Warmers from November 2002 to at least 2015 (“ATF Warmers Relevant Time Period”).

         The ATF Warmers Conspiracy caused GEICO to pay supra-competitive prices for ATF

         Warmers and thus injured GEICO in its business. The anticompetitive effects of HIAMS

         and its co-conspirators’ unlawful conduct continue to be felt.




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       (d)    Electronic Throttle Bodies Conspiracy:            HIAMS conspired with other

       manufacturers of Electronic Throttle Bodies to fix, raise, stabilize and control prices of

       and/or allocate markets for Electronic Throttle Bodies from January 2000 to at least 2015

       (“Electronic Throttle Bodies Relevant Time Period”). The Electronic Throttle Bodies

       Conspiracy caused GEICO to pay supra-competitive prices for Electronic Throttle Bodies

       and thus injured GEICO in its business. The anticompetitive effects of HIAMS and its

       co-conspirators’ unlawful conduct continue to be felt.

       (e)    Fuel Injection Systems Conspiracy: HIAMS conspired with other manufacturers

       of Fuel Injection Systems to fix, raise, stabilize and control prices of and/or allocate

       markets for Fuel Injection Systems from January 2000 to at least 2015 (“Fuel Injection

       Systems Relevant Time Period”). The Fuel Injection Systems Conspiracy caused GEICO

       to pay supra-competitive prices for Fuel Injection Systems and thus injured GEICO in its

       business.   The anticompetitive effects of HIAMS and its co-conspirators’ unlawful

       conduct continue to be felt.

        (f)   High Intensity Discharge Ballasts Conspiracy: Panasonic conspired with other

       manufacturers of HID Ballasts to fix, raise, stabilize and control prices of and/or allocate

       markets for HID Ballasts from July 1998 to at least 2015 (“HID Ballasts Relevant Time

       Period”). The High Intensity Discharge Ballasts Conspiracy caused GEICO to pay supra-

       competitive prices for High Intensity Discharge Ballasts and thus injured GEICO in its

       business. The anticompetitive effects of Panasonic and its co-conspirators’ unlawful

       conduct continue to be felt.

       (g)    Ignition Coils Conspiracy:       HIAMS conspired with other manufacturers of

       Ignition Coils to fix, raise, stabilize and control prices of and/or allocate markets for



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       Ignition Coils from January 2000 to at least 2015 (“Ignition Coils Relevant Time

       Period”). The Ignition Coils Conspiracy caused GEICO to pay supra-competitive prices

       for Ignition Coils and thus injured GEICO in its business. The anticompetitive effects of

       HIAMS and its co-conspirators’ unlawful conduct continue to be felt.

       (h)    Instrument Panel Clusters Conspiracy:         Nippon Seiki conspired with other

       manufacturers of Instrument Panel Clusters to fix, raise, stabilize and control prices of

       and/or allocate markets for Instrument Panel Clusters from as early as January 1999 to at

       least 2015 (“Instrument Panel Clusters Relevant Time Period”). The Instrument Panel

       Clusters conspiracy caused GEICO to pay supra-competitive prices for Instrument Panel

       Clusters and thus injured GEICO in its business. The anticompetitive effects of Nippon

       Seiki and its co-conspirators’ unlawful conduct continue to be felt.

       (i)    Inverters Conspiracy: HIAMS conspired with other manufacturers of Inverters

       to fix, raise, stabilize and control prices of and/or allocate markets for Inverters from

       January 2000 to at least 2015 (“Inverters Relevant Time Period”).           The Inverters

       conspiracy caused GEICO to pay supra-competitive prices for Inverters and thus injured

       GEICO in its business. The anticompetitive effects of HIAMS and its co-conspirators’

       unlawful conduct continue to be felt.

       (j)    Motor Generators Conspiracy: HIAMS conspired with other manufacturers of

       Motor Generators to fix, raise, stabilize and control prices of and/or allocate markets for

       Motor Generators from January 2000 to at least 2015 (“Motor Generators Relevant Time

       Period”). The Motor Generators Conspiracy caused GEICO to pay supra-competitive

       prices for Motor Generators and thus injured GEICO in its business. The anticompetitive

       effects of HIAMS and its co-conspirators’ unlawful conduct continue to be felt.



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       (k)    Occupant Safety Restraint Systems Conspiracy: Autoliv and TRW conspired

       with each other and other manufacturers of Occupant Safety Restraint Systems to fix,

       raise, stabilize and control prices of and/or allocate markets for Occupant Safety Restraint

       Systems from as early as January 2003 to at least 2015 (“Occupant Safety Restraint

       Systems Relevant Time Period”). The Occupant Safety Restraint System Conspiracy

       caused GEICO to pay supra-competitive prices for Occupant Safety Restraint Systems

       and thus injured GEICO in its business. The anticompetitive effects of HIAMS and its

       co-conspirators’ unlawful conduct continue to be felt.

       (l)    Radiators Conspiracy: T.RAD conspired with other manufacturers of Radiators

       to fix, raise, stabilize and control prices of and/or allocate markets for Radiators from as

       early as February 2001 to at least 2015 (“Radiators Relevant Time Period”).              The

       Radiators Conspiracy caused GEICO to pay supra-competitive prices for Radiators and

       thus injured GEICO in its business. The anticompetitive effects of T.RAD and its co-

       conspirators’ unlawful conduct continue to be felt.

       (m)    Starters Conspiracy: HIAMS conspired with other manufacturers of Starters to

       fix, raise, stabilize and control prices of and/or allocate markets for Starters from as early

       as January 2000 to at least 2015 (“Starters Relevant Time Period”).             The Starters

       Conspiracy caused GEICO to pay supra-competitive prices for Starters and thus injured

       GEICO in its business. The anticompetitive effects of HIAMS and its co-conspirators’

       unlawful conduct continue to be felt.

       (n)    Steering Angle Sensors Conspiracy:                Panasonic conspired with other

       manufacturers of Steering Angle Sensors to fix, raise, stabilize and control prices of

       and/or allocate markets for Steering Angle Sensors from as early as September 2000 to at



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         least 2015 (“Steering Angle Sensors Relevant Time Period”).          The Steering Angle

         Sensors Conspiracy caused GEICO to pay supra-competitive prices for Steering Angle

         Sensors and thus injured GEICO in its business.          The anticompetitive effects of

         Panasonic and its co-conspirators’ unlawful conduct continue to be felt.

         (o)        Switches Conspiracy: Panasonic conspired with other manufacturers of Switches

         to fix, raise, stabilize and control prices of and/or allocate markets for Switches from as

         early as January 2000 to at least February 2010 (“Switches Relevant Time Period”). The

         Switches Conspiracy caused GEICO to pay supra-competitive prices for Switches and

         thus injured GEICO in its business. The anticompetitive effects of Panasonic and its co-

         conspirators’ unlawful conduct continue to be felt.

         (p)        Valve Timing Control Devices Conspiracy:       HIAMS conspired with other

         manufacturers of Valve Timing Control Devices to fix, raise, stabilize and control prices

         of and/or allocate markets for Valve Timing Control Devices from as early as January

         2000 to at least 2015 (“Valve Timing Control Devices Relevant Time Period”). The

         Valve Timing Control Devices Conspiracy caused GEICO to pay supra-competitive

         prices for Valve Timing Control Devices and thus injured GEICO in its business. The

         anticompetitive effects of HIAMS and its co-conspirators’ unlawful conduct continue to

         be felt.

         127.       The DOJ, in its public announcements, described how the Defendants and their

  co-conspirators carried out these multiple conspiracies. Defendants and their co-conspirators

  agreed, during meetings and conversations, to allocate the supply of named Auto Parts products

  on a model-by-model basis and to coordinate price adjustments. To maintain the secrecy of the

  conspiracies, Defendants and their co-conspirators used code names, met in remote or private



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  locations and employed other measures. They also ensured that their co-conspirators adhered to

  the agreements through an informal monitoring system.

         128.    The Air Flow Meters Relevant Time Period, Alternators Relevant Time Period,

  ATF Warmers Relevant Time Period, Electronic Throttle Bodies Relevant Time Period, Fuel

  Injection Systems Relevant Time Period, HID Ballasts Relevant Time Period, Ignition Coils

  Relevant Time Period, Instrument Panel Clusters Relevant Time Period, Inverters Relevant Time

  Period, Motor Generators Relevant Time Period, Occupant Safety Restraint Systems Relevant

  Time Period, Radiators Relevant Time Period, Starters Relevant Time Period, Steering Angle

  Sensors Relevant Time Period, Switches Relevant Time Period and Valve Timing Control

  Devices Relevant Time Period are collectively referred to as the “Relevant Time Periods.”

  III.   Governments Around the World Have Initiated Investigations into the Auto Parts
         Conspiracies

                 A.      Global Government Investigations into Price-Fixing in the Automotive
                         Parts Industry

         129.    The United States, Europe, Canada and Japan have coordinated their antitrust

  investigations of suppliers of Auto Parts.

         130.    On February 24, 2010, the European Commission executed surprise raids at the

  European offices of certain Automotive Wire Harness manufacturers. The EC also confirmed

  that it had initiated investigations into other electronic and electrical distribution systems.

         131.    Parallel raids were conducted simultaneously with the EC raids in the United

  States and Japan as part of a coordinated international operation. On February 23, 2010, the FBI

  executed search warrants and raided the offices of DENSO and Tokai Rika in the Detroit area.

  At this time, the FBI did not disclose the “substance or reason behind the warrants.” The DOJ,

  however, issued a general statement that it was “investigating the possibility of anticompetitive



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  cartel conduct of automotive electronic components suppliers” but provided no further detail.

  The Japan Fair Trade Commission similarly searched the offices of several Auto Parts

  manufacturers.

         132.      The scope and magnitude of the Auto Parts investigations slowly have expanded

  and became public, as DOJ continues to announce the automotive manufacturer firms and

  executives who have plead guilty to conspiracies to fix the prices and/or rig bids of specific Auto

  Parts. As Scott D. Hammond, former Assistant Attorney General of DOJ’s Antitrust Division’s

  Criminal Enforcement Program, explained in September 2013, the DOJ “ha[s] seen a pattern

  during the course of this investigation. The detection of one auto part conspiracy has led to the

  discovery of other conspiracies involving a new set of products, a new group of conspirators and

  a new list of victims.”

          B.       Criminal Pleadings in the Automotive Parts Industry

         133.      On January 30, 2012, the DOJ announced DENSO Corporation and other

  manufacturers had agreed to plead guilty and pay fines for its involvement in multiple price-

  fixing and bid-rigging conspiracies in the sale of Auto Parts in the United States. One

  manufacturer agreed to pay a $470 million criminal fine—the second largest criminal fine for a

  Sherman Act violation. In addition, four executives agreed to plead guilty for their participation

  in the conspiracies and to serve prison time ranging from 15 months to two years. According to

  the DOJ, the two-year sentences would be the longest term of imprisonment imposed on a

  foreign national voluntarily submitting to U.S. jurisdiction for a Sherman Act antitrust violation.

  Over a year later, on April 23, 2012, the DOJ announced that another manufacturer agreed to

  plead guilty and to pay a $20 million criminal fine for its role in a conspiracy to fix prices of

  Auto Parts.



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         134.    On June 6, 2012, the DOJ announced that Autoliv, Inc. agreed to plead guilty and

  pay a $14.5 million criminal final for its role in a conspiracy to fix the prices of Occupant Safety

  Systems.

         135.    On July 30, 2012, the DOJ announced that TRW Deutschland Holding GmbH

  agreed to plead guilty and to pay $5.1 million criminal fine for its involvement in a conspiracy to

  fix prices of Occupant Safety Restraint Systems.

         136.    On August 28, 2012, Nippon Seiki Co. Ltd. agreed to plead guilty and pay a $1

  million criminal fine for its role in a conspiracy to fix prices of Instrument Panel Clusters.

         137.    On July 18, 2013, Panasonic Corporation agreed to plead guilty and to pay a

  $45.8 million criminal fine for its role in a conspiracy to fix prices of HID Ballasts, Switches and

  Steering Angle Sensors installed in automobiles sold in the United States and elsewhere.         Then,

  on September 24, 2013, a federal grand jury returned an indictment against a Panasonic

  Automotive Systems Corporation executive for his role in the conspiracies to fix prices of

  Switches and Steering Angle Sensors sold to Toyota.

         138.    On September 26, 2013, nine additional Japanese automotive suppliers agreed to

  plead guilty to conspiracy charges and pay more than $74 million in criminal fines for their roles

  in fixing the prices and/or rigging bids of more than 30 different Auto Part products, including

  two of the named Defendants here:

         (a)     Hitachi Automotive Systems Ltd. agreed to plead guilty and to pay a $195 million

         criminal fine for its participation in a conspiracy to fix prices and rig bids for Starter

         Motors, Alternators, Air Flow Meters, Valve Timing Control Devices, Fuel Injection

         Systems, Electronic Throttle Bodies, Ignition Coils, Inverters and Motor Generators sold

         to automobile manufacturers in the United States and elsewhere;



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           (b)     T.RAD Co. Ltd. agreed to plead guilty and to pay a $13.75 million criminal fine

           for its participation in a conspiracy to fix prices and rig bids for Radiators and ATF

           Warmers sold to automobile manufacturers in the United States and elsewhere.

           139.    To date, at least thirty-eight companies and fifty-eight individuals have been

  charged in the DOJ’s Antitrust Division’s ongoing investigation into price-fixing and bid rigging

  in the automotive parts industry. Together, these companies and executives have agreed to pay

  more than $2.6 billion in criminal fines. The Antitrust Division continues to regularly announce

  new indictments and guilty pleas in the automotive industry as part of its ongoing criminal

  investigation.

           140.    Former United States Attorney General Eric Holder estimated in September 2013

  that “[t]hese international price-fixing conspiracies affected more than $5 billion in automobile

  parts sold to U.S. car manufacturers. In total, more than 25 million cars purchased by American

  consumers were affected by the illegal conduct.” Scott D. Hammond, former Assistant Attorney

  General of DOJ’s Antitrust Division’s Criminal Enforcement Program, stated that “[s]ome of

  these price-fixing conspiracies lasted for a decade or longer.”

  IV.      The Unique Structure and Characteristics of the Auto Parts Industry Facilitated the
           Unlawful Conspiracies

           141.    Collusion is more likely to occur in some industries than others. Conditions in the

  Auto Parts industry are particularly favorable to collusion and consequently have fostered price-

  fixing and market allocation practices. Specifically, the unique characteristics of the Auto Parts

  industry include (1) high barriers to entry; (2) inelasticity of demand and standardization of Auto

  Parts; (3) a unique culture of cooperation and (4) high market concentration for particular Auto

  Parts.




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                 A.      The Auto Parts Industry Has High Barriers to Entry

         142.    The ease with which new firms may enter a market impacts whether a particular

  industry may be susceptible to collusion and cartel behavior. Generally, if competitors collude

  and agree to raise prices, the collusive behavior attracts new entrants seeking to undercut the

  supra-competitive prices. If a particular industry has high barriers to entry, however, new

  entrants are less likely to enter a market in response to an increase or stabilization of prices.

  High entry barriers thus facilitate the formation and maintenance of a cartel.

         143.    As described above, numerous Auto Parts submarkets exist, including the Air

  Flow Meters Market, Alternators Market, ATF Warmers Market, Electronic Throttle Bodies

  Market, Fuel Injection Systems Market, High Intensity Discharge Ballasts Market, Ignition Coils

  Market, Instrument Panel Clusters Market, Inverters Market, Motor Generators Market,

  Occupant Safety Restraint Systems Market, Radiators Market, Starters Market, Steering Angle

  Sensors Market, Switches Market and Valve Timing Control Devices Market (collectively the

  “Auto Parts Submarkets”). There are substantial barriers that preclude, reduce or make entry into

  the Auto Parts Submarkets more difficult. A new entrant in the Auto Parts Submarkets would

  face costly and lengthy start-up costs, including multimillion dollar costs associated with

  manufacturing plants and equipment, energy, transportation, distribution infrastructure, securing

  skilled labor and establishing customer relationships.

         144.    The high research and development costs associated with the Auto Parts industry

  also deter potential entrants.     Auto Parts manufacturers are constantly researching the

  functionality and safety of their parts. To compete, an entrant must be committed to spending a

  significant amount of resources on research and development.




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          145.    Defendants also own patents on various Auto Parts. These patents place a

  significant and costly burden on potential new entrants, who must avoid infringing on the patents

  when entering the market with a new product by either seeking a license or designing around the

  applicable patent.

          146.    In addition, repair professionals have little choice in selecting the Auto Parts

  manufacturer from which they will purchase parts. OEMs design the features of their vehicles so

  that specific Auto Parts are integrated with other Auto Parts, electronics and mechanics of the

  particular vehicle model. Thus, when repair professionals need to replace an Auto Part, they are

  limited to those manufacturers who sell the part that fits a particular vehicle model. For a new

  entrant, it would be difficult—if not impossible—to offer Auto Parts for sale, particularly when

  patents are at issue.

                  B.      There is Inelasticity of Demand for Auto Parts

          147.    Cross-elasticity of demand measures the extent to which the quantity demanded

  of one product or service will change in response to a change in the price of a second product or

  service. For example, demand is said to be “inelastic” if an increase in the price of a product

  results in only a small decline in the quantity sold of that product, if any.

          148.    The lack of available substitute products or services contributes to the cross-

  elasticity of demand. High cross-elasticity of demand between two products indicates that the

  products are good substitutes for one another. If products cannot be easily substituted for the

  product at issue, or if there are other restrictive specifications of the products, the probability of

  collusion increases.

          149.    Fewer substitutes, and thus inelastic demand, facilitate collusion, allowing

  producers to raise their prices without triggering customer substitution and lost sales revenue.



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         150.    Demand for Auto Parts is highly inelastic because there are no close substitutes

  for these products. As discussed, OEMs design the features of their vehicles so that the Auto

  Parts they purchase for a vehicle are then integrated with the other parts, electronics and

  mechanics of a particular vehicle model. Thus, available and feasible substitutes are inherently

  limited because repair professionals must use a specific Auto Part. Consequently, when insureds

  or claimants need to replace a defective or damaged part in their vehicles, they have little choice

  in Auto Parts, even if the prices are maintained at a supra-competitive level.

                 C.      Certain Auto Parts Submarkets Are Highly Concentrated

         151.    Collusion is more likely if there are fewer sellers. With fewer sellers in a given

  market, the competing sellers may more easily coordinate their actions and collude. Not only

  does a concentrated market facilitate actual collusion, but concentrated markets may also assist

  conspirators in policing the cartel. With fewer competitors, cartel members may more easily

  detect and punish firms that deviate from the collusive behavior.

         152.    There is a high level of concentration among firms in several of the Auto Parts

  Submarkets. Further, Defendants dominate many of the Auto Parts Submarkets and exercise

  control over prices and the conspiracies challenged here.

                 D.      The Culture of the Auto Parts Industry Is Conducive to Collusion

         153.    Collusion is more likely to occur if the competitors know each other through trade

  associations, conferences, social connections, business contacts or shifting employment. The

  close-knit culture of the Auto Parts industry in particular fostered and presented opportunities for

  Defendants and their co-conspirators to conspire.

         154.    Defendants attended and continue to attend industry events and conferences

  where they have the opportunity to meet, agree on prices and other anticompetitive practices and



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  coordinate carrying out the acts necessary for the operation and furtherance of the alleged

  conspiracies. For example, the Original Equipment Suppliers Association (“OESA”) hosts an

  annual conference in Detroit, Michigan, which provides numerous opportunities for Auto Parts

  manufacturers to meet and conspire. In addition, OESA is comprised of numerous councils and

  committees, further providing Auto Parts members opportunities to coordinate and further their

  conspiracies. OESA is just one example of an industry organization that may have served as a

  conduit for conspiratorial conduct.

         155.    Auto Dealers and other industry participants (possibly           unknowingly) also

  facilitated Auto Parts conspiratorial conduct. Toyota has a supplier group called Kyohokai,

  which hosts golf and other social outings for executives of more than 200 companies to get to

  know each other and share information. Established in 1943, Kyohokai also holds executive

  roundtables and makes proposals to Toyota on particular issues. Kyohokai offered one platform

  in which the Defendants could organize and further their conspiracies.

         156.    Finally, the culture of the companies themselves plays a significant role. Much of

  the focus of the global government investigations has been on Japanese suppliers. Business

  traditions and the unique culture in Japan may have contributed to this collusion, as industrial

  groups tend to favor cooperation over competition.

  V.     Price Fixing and Market Allocation Are Per Se Unlawful

         157.    Price Fixing occurs when two or more competitors agree to actions that have the

  effect of raising, fixing or maintaining prices of a product or service. Price fixing is a per se

  violation of the Sherman Act and may be proven by direct or circumstantial evidence.

         158.    Market allocation occurs when two or more competitors agree to divide sales

  territories, assign customers or allocate a specific percentage of available business to each

  producer. Market allocation is also a per se violation of the antitrust laws.
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          159.    Courts have determined that per se practices have no legitimate justification and

  lack any redeeming competitive purpose so should be considered unlawful without any further

  analysis of their effects, reasonableness or economic justifications.

          160.    Defendants and their co-conspirators agreed to actions that had the effect of

  allocating markets for and fixing the prices of Auto Parts. The collusive schemes inflated the

  prices of Auto Parts, and GEICO and its insureds and claimants paid more for these parts than

  they would have otherwise in the absence of the conspiracies. On May 25, 2014, news sources

  reported that Brent Snyder, a Deputy Assistant Attorney General in DOJ’s Antitrust Division,

  stated that “[i]t’s a very, very safe assumption that U.S. consumers paid more, and sometimes

  significantly more, for their automobiles as a result of [these] conspiracy[ies].”

          161.    Because price fixing and market allocation are presumptively unlawful under the

  antitrust laws, GEICO does not shoulder the burden of defining relevant markets or showing

  anticompetitive effects. Per se violations of the antitrust laws lack redeeming value and cannot

  be justified.

  VI.     GEICO Suffered Antitrust Injury

          162.    The Defendants’ price-fixing and market allocation conspiracies had the

  following effects, among others:

          (a)     The prices of Auto Parts have been fixed, raised, maintained or stabilized at

          artificially inflated levels; and

          (b)     Price competition has been restrained or eliminated with respect to Auto Parts.

          163.    As part of the conspiracies, Auto Parts manufacturers charged supra-competitive

  prices for Auto Parts to repair professionals, OEMs and automotive dealers.                Repair

  professionals then passed along the inflated prices to GEICO or its insureds or claimants. OEMs

  and automotive dealers also passed along inflated prices to GEICO’s insureds and third-party
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  claimants when the insureds or claimants purchased vehicles, thus inflating the value of the

  vehicle.

          164.   GEICO purchased Auto Parts, reimbursed its insureds and claimants for Auto

  Parts from repair professionals, or otherwise made payment to its insureds and claimants for the

  value of Auto Parts during the Relevant Time Periods, and consequently paid artificially inflated

  prices that had been passed on from the repair professionals.        GEICO also reimbursed its

  insureds and third-party claimants for the full vehicle value when a vehicle was declared a total

  loss.

          165.   The individual Auto Parts Submarkets and the market for vehicles are inextricably

  linked and intertwined because the Auto Parts Submarkets exist to serve the vehicle market.

  Without the vehicles, Auto Parts have little to no value because they have no independent utility.

  Auto Parts are a critical and necessary input to a finished vehicle, and vehicles similarly have

  little value without their component parts. Because Auto Parts are a necessary input to a finished

  vehicle, demand for vehicles drives demand for Auto Parts.

          166.   Auto Parts are identifiable, discrete physical products and are separate from the

  vehicle in which they are installed. Auto Parts do not change form or become an

  indistinguishable part from the vehicle in which they are installed. As a result, Auto Parts may be

  traced through the chain of distribution. Because Auto Parts are discrete products, the cost and

  price of Auto Parts—and any price changes—also may be traced.

          167.   Price changes in an Auto Part impact the overall price and value of the vehicle.

  Increases in the price of component Auto Parts lead to corresponding price increases in the price

  of new motor vehicles at the OEM and automotive dealer level. OEMs and dealers have thin

  margins, and these downstream distribution markets in which vehicles are sold are consequently



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  highly competitive. OEMs and dealers pass on any overcharges they incur from automotive part

  suppliers to consumers, including GEICO’s insureds and claimants. As a result, GEICO paid

  artificially inflated prices for Auto Parts when it reimbursed its insureds or claimants for a

  vehicle’s value.

         168.    The purpose of Defendants and their co-conspirators’ anticompetitive conduct

  was to raise, fix, maintain or stabilize the price of Auto Parts purchased for repair purposes.

         169.    GEICO was overcharged for its purchase and reimbursement of replacement Auto

  Parts and the value of vehicles declared a total loss. Those overcharges have unjustly enriched

  Defendants.

         170.    The precise amount of the overcharges impacting the prices of new vehicles

  containing Auto Parts and of replacement parts can be measured and quantified. Commonly used

  and well-accepted economic models may be used to measure both the extent and the amount of

  the supra-competitive prices passed through the distribution chain to GEICO. Thus, the

  economic harm to GEICO can be quantified. By reason of the alleged violations of the antitrust

  laws, GEICO has sustained injury to its businesses or property, having paid higher prices for

  Auto Parts than it would have paid in the absence of the Defendants’ illegal agreements,

  combinations or conspiracies, and, as a result, have suffered damages in an amount presently

  undetermined. This is an antitrust injury of the type that the antitrust laws were meant to punish

  and prevent.

  VII.   GEICO’s Claims Are Not Barred by the Statutes of Limitations

                 A.      The Statutes of Limitations Did Not Begin to Run Because GEICO Did
                         Not and Could Not Discover Its Claims

         171.    GEICO repeats and re-alleges the allegations set forth above.




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  GEICO had no knowledge of the combinations or conspiracies alleged herein, or of facts

  sufficient to place it on inquiry notice of the claims set forth herein, until the public

  announcements of the government investigations into price fixing and bid rigging of Auto Parts

  began.

           172.   As an insurer       who purchased replacement parts directly from repair

  professionals and reimbursed its insureds and claimants for their purchase of replacement parts,

  GEICO had no direct contact or interaction with the Defendants and had no means from which it

  could have discovered the combinations and conspiracies described in this Complaint before the

  public announcements of the specific Auto Part government investigations.

           173.   No information in the public domain was available to GEICO prior to the public

  announcements of the government investigations that revealed sufficient information to suggest

  that the Defendants were involved in criminal conspiracies to fix the price of Auto Parts, rig bids

  and allocate markets. GEICO had no means of obtaining (a) any facts or information concerning

  any aspect of the Defendants’ dealings with repair professionals, (b) facts concerning Defendants

  and their co-conspirators’ agreements and conspiracies alleged herein and (c) facts evidencing

  the scope of DOJ’s investigations and specific Auto Parts implicated.

           174.   For these reasons, the statutes of limitations as to GEICO’s claims did not begin

  to run, at the earliest, until DOJ publicly announced the investigation into each Auto Part.

  Additionally, there may be other reasons why the statute of limitations periods did not

  commence running or were tolled as to GEICO.

                  B.     Defendants Committed Continuing Antitrust Violations, Which Re-
                         Started the Applicable Statutes of Limitations

           175.   GEICO purchased or reimbursed its insureds and claimants for replacement Auto

  Parts hundreds of thousands, if not millions, of times during the Relevant Time Periods. The

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  Defendants committed an overt act in furtherance of the conspiracies each time they sold an

  Auto Part to a repair professional who then sold and/or installed the part in a GEICO insured or

  claimant’s vehicle. Each Auto Part sale from a Defendant to a repair professional—followed by

  a sale to one of GEICO’s insureds and claimants—resulted in an overcharge and injury to

  GEICO.

         176.    For each overcharge and injury to GEICO, a cause of action accrued, restarting

  the relevant statute of limitations.     Thus, Defendants committed their last overt acts in

  furtherance of the various conspiracies beginning in February 2010, and the relevant statutes for

  each Auto Part alleged thus began from the date of the last overt acts.

         177.    The continuing violation doctrine frequently arises in conspiracy cases because

  each price increase requires further collusion among the Defendants. Defendants were engaged

  in ongoing conspiracies, and each price increase resulted from additional collusion between and

  among the Defendants.

                 C.      Fraudulent Concealment Tolled the Statutes of Limitations

         178.    The doctrine of fraudulent concealment also tolled the relevant statutes of

  limitations. Defendants took active steps to conceal their wrongdoing, and GEICO did not

  discover, and could not have discovered, through the exercise of reasonable diligence the

  existence of Defendants’ conspiracies until DOJ and the FBI publicly announced the

  investigations into each specific Auto Part. DOJ and the FBI continue to announce investigations

  and plea deals for automotive parts.

         179.    Before the government’s public announcements, GEICO was unaware of

  Defendants’ unlawful conduct, and did not realize it was paying supra-competitive prices for

  Auto Parts throughout the United States during the Relevant Time Periods. No information,



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  actual or constructive, was ever made available to GEICO that revealed the Defendants’ price-

  fixing and market allocation conspiracies.

         180.    Defendants’ anticompetitive conspiracies and unlawful combinations were

  inherently self-concealing. Defendants met and communicated in secret and agreed to keep the

  facts about their collusive conduct from being discovered by any member of the public or by the

  OEMs, repair professionals and other direct and indirect purchasers. Defendants also engaged in

  other surreptitious activity, including the use of code names and meeting at private residences or

  remote locations. The conspirators also coordinated their pricing in a manner to avoid detection

  by the OEMs or repair professionals.

         181.    Because the alleged conspiracies were both self-concealing and affirmatively

  concealed by Defendants and their co-conspirators, a reasonable person under the circumstances

  would not have been alerted to begin to investigate the legitimacy of Defendants’ Auto Parts

  prices before the public announcements of the government investigations began.            GEICO

  specifically had no knowledge of the alleged conspiracies, or of any facts or information that

  would have caused a reasonably diligent person to investigate whether a conspiracy existed, until

  the public announcements of the government investigations into each Auto Part began.

         182.    For these reasons, the statutes of limitations applicable to GEICO’s claims were

  tolled and did not begin to run until the DOJ publically announced its investigation into each

  Auto Part challenged herein.

                 D.     GEICO’s Claims Were Tolled by the Class Complaints in the Auto Parts
                        MDL

         183.    GEICO’s claims were also tolled during the pendency of the class action suits in

  In re Automotive Parts Antitrust Litigation, MDL No. 2311, under the U.S. Supreme Court’s

  decisions in American Pipe & Construction Co. v. Utah, 414 U.S. 538 (1974) and Crown, Cork

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  & Seal Co., Inc. v. Parker, 462 U.S. 345 (1983). GEICO was a putative member of the proposed

  classes for the following relevant proposed (and Settlement) Auto Parts Classes: Air Flow

  Meters, Alternators, ATF Warmers, Electronic Throttle Bodies, Fuel Injection Systems, High

  Intensity Discharge Ballasts, Ignition Coils, Instrument Panel Clusters, Inverters, Motor

  Generators, Occupant Safety Restraint Systems, Radiators, Starters, Steering Angle Sensors,

  Switches and Valve Timing Control Devices. The Auto Parts class cases were consolidated into

  the In re Automotive Parts Antitrust Litigation, MDL No. 2311. GEICO’s claims were thus

  tolled from the filing of the class suits until GEICO opted out of the litigation on April 11, 2016.

  VIII. GEICO Paid Supra-Competitive Prices for Auto Parts

         184.    During the Relevant Time Periods, GEICO purchased or reimbursed its insureds

  and claimants for Auto Parts in amounts exceeding $789 million, including:


         (a)     During the Air Flow Meters Relevant Time Period, GEICO paid approximately

         $1.5 million in supra-competitive prices for Air Flow Meters.

         (b)     During the Alternators Relevant Time Period, GEICO paid approximately $7

         million in supra-competitive prices for Alternators.

         (c)     During the ATF Warmers Relevant Time Period, GEICO paid approximately $45

         million in supra-competitive prices for ATF Warmers.

         (d)     During the Electronic Throttle Bodies Relevant Time Period, GEICO paid supra-

         competitive prices for Electronic Throttle Bodies in amounts to be determined at trial.

         (e)     During the Fuel Injection Systems Relevant Time Period, GEICO paid

         approximately $11 million in supra-competitive prices for Fuel Injection Systems.

         (f)     During the HID Ballasts Relevant Time Period, GEICO paid approximately $1.5

         million in supra-competitive prices for High Intensity Discharge Ballasts.


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       (g)    During the Ignition Coils Relevant Time Period, GEICO paid approximately

       $800,000 in supra-competitive prices for Ignition Coils.

       (h)    During the Instrument Panel Clusters Relevant Time Period, GEICO paid

       approximately $5.5 million in supra-competitive prices for Instrument Panel Clusters.

       (i)    During the Inverters Relevant Time Period, GEICO paid supra-competitive prices

       for Inverters in amounts to be determined at trial.

       (j)    During the Motor Generators Relevant Time Period, GEICO paid supra-

       competitive prices for Motor Generators in amounts to be determined at trial.

       (k)    During the Occupant Safety Restraint Systems Relevant Time Period, GEICO

       paid approximately $326 million in supra-competitive prices for Occupant Safety

       Restraint Systems.

       (l)    During the Radiators Relevant Time Period, GEICO paid approximately $278

       million in supra-competitive prices for Radiators.

       (m)    During the Starters Relevant Time Period, GEICO paid approximately $2.5

       million in supra-competitive prices for Starters.

       (n)    During the Steering Angle Sensors Relevant Time Period, GEICO paid

       approximately $700,000 in supra-competitive prices for Steering Angle Sensors.

       (o)    During the Switches Relevant Time Period, GEICO paid approximately $6

       million in supra-competitive prices for Switches.

       (p)    During the Valve Timing Control Devices Relevant Time Period, GEICO paid

       approximately $2 million in supra-competitive prices for Valve Timing Control Devices.

                                 FIRST CLAIM FOR RELIEF
                            Violation of Section 1 of the Sherman Act

       185.   GEICO incorporates by reference the allegations in the preceding paragraphs.


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         186.    Defendants and unnamed conspirators entered into and engaged in contracts,

  combinations or conspiracies that unreasonably restrained trade in violation of Section 1 of the

  Sherman Act (15 U.S.C. § 1).

         187.    The acts committed by each of the Defendants as part of, and in furtherance of,

  their contracts, combinations or conspiracies were authorized, ordered or committed by their

  officers, agents, employees or representatives while actively engaged in the management of

  Defendants’ affairs.

         188.    During the Relevant Time Periods, Defendants and their co-conspirators entered

  into continuing agreements, understandings and conspiracies in restraint of trade to artificially

  fix, raise, stabilize and control prices for Auto Parts. Agreements to fix prices and allocate

  markets are per se violations of the Sherman Act and presumptively anticompetitive. The

  conspiratorial acts and combinations have unreasonably restrained competition in the Auto Parts

  Submarkets.

         189.    The anticompetitive acts were intentionally directed at the United States Auto

  Parts Submarkets and had a substantial and foreseeable effect on interstate commerce by raising

  and fixing prices of Auto Parts throughout the United States.

         190.    As a result of Defendants’ unlawful conduct, GEICO has been injured in its

  business or property because it paid—either directly or through reimbursement to its insureds or

  claimants—inflated, supra-competitive prices for Auto Parts and for vehicles declared a total

  loss. GEICO paid more than it would have paid in the absence of the conspiracies. GEICO’s

  injuries flow directly from Defendants’ anticompetitive price-fixing and market allocation

  conspiracies, as Defendants conspired to fix prices for Auto Parts and then charged repair

  professionals, OEMs and automotive dealers supra-competitive, fixed prices for the replacement



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  and new parts. The repair professionals, OEMs and automotive dealers passed on these inflated,

  supra-competitive prices to GEICO and their insureds and claimants. GEICO’s injuries are the

  type that the antitrust laws were intended to prevent.

         191.    Defendants and their co-conspirators’ conspiracies had the following effects on

  the relevant Auto Parts Submarkets:

         (a)      Prices for Auto Parts sold by Defendants and their co-conspirators have been

         fixed, raised, maintained and stabilized at artificially high, non-competitive levels

         throughout the United States;

         (b)     Price competition for Auto Parts has been restrained, suppressed and/or

         eliminated in the United States;

         (c)     Defendants’ conspiracies also have decreased innovation and quality in the Auto

         Parts Submarkets; and

         (d)     GEICO, repair professionals, OEMs, automotive dealers and consumers

  (including GEICO’s insureds or claimants) have been deprived of the benefits of free and open

  competition in the Auto Parts Submarkets and have paid supra-competitive prices.

         192.    GEICO is entitled to an injunction against Defendants, preventing and restraining

  the violations alleged herein.

                                    SECOND CLAIM FOR RELIEF
                                   Violations of State Antitrust Statutes

         193.    GEICO incorporates and realleges, as though fully set forth herein, the allegations

  in Paragraphs 1-192 of this Complaint.

         194.    During the Relevant Time Periods, Defendants and their co-conspirators engaged

  in continuing contracts, combinations or conspiracies with respect to the price of Auto Parts.




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  Defendants and their co-conspirators’ agreements and conspiracies unreasonably restrained trade

  and commerce in violation of various state antitrust and other statutes described below.

          195.    Defendants and their co-conspirators agreed to fix, raise, inflate, stabilize and/or

  maintain artificially supra-competitive prices for Auto Parts and to allocate markets for Auto

  Parts in the United States.

          196.    In formulating and effectuating these conspiracies, Defendants and their co-

  conspirators performed acts in furtherance of these agreements and conspiracies, including:

          (a)     participating in secret meetings and conversations among themselves in the

          United States and elsewhere during which they agreed (i) to price Auto Parts at certain

          levels, and otherwise to fix, increase, inflate, maintain or stabilize effective prices paid by

          repair professionals, OEMs and automotive dealers—and subsequently GEICO—with

          respect to Auto Parts sold in the United States; and (ii) to allocate customers and markets

          for Auto Parts in the United States in furtherance of their conspiracies; and

          (b)     participating in secret meetings and conversations among themselves in the

          United States and elsewhere to implement, adhere to and police the unlawful price-fixing

          and market allocation conspiracies.

          197.    Defendants and their co-conspirators engaged in the actions described above for

  the purpose of carrying out their unlawful agreements to fix, maintain, increase or stabilize prices

  and to allocate markets with respect to Auto Parts.

          198.    Defendants’ anticompetitive acts described above were knowing, willful and

  constitute violations or flagrant violations of the following state antitrust statutes.




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         199.    Defendants and their co-conspirators have knowingly agreed and entered

  combinations to fix Auto Parts prices and unlawfully restrain trade in violation of Alabama Code

  §§ 8-10-1, et seq.

         (a)     Defendants’ agreements, combinations and/or conspiracies (i) fixed, raised,

         maintained and stabilized Auto Parts prices at artificially high levels throughout

         Alabama; (ii) restrained, suppressed and eliminated price competition for Auto Parts

         throughout Alabama; (iii) deprived GEICO and its insureds and claimants of free and

         open competition in the Auto Parts Submarkets; and (iv) resulted in GEICO paying

         supra-competitive, artificially high prices for Auto Parts.

         (b)     During the Relevant Time Periods, Defendants’ illegal conduct substantially

         affected Alabama commerce.

         (c)     As a direct and proximate result of Defendants’ unlawful conduct, GEICO has

         been injured in its business and property and is threatened with further injury.

         (d)     Defendants’ agreements and combinations unlawfully fixed Auto Parts prices,

         allocated markets and restrained trade in violation of Alabama Code §§ 8-10-1, et seq.

         Accordingly, GEICO seeks all forms of relief available under Alabama Code §§ 8-10-1,

         et seq. and § 6-5-60.

         200.    Defendants and their co-conspirators entered contracts, combinations and/or

  conspiracies to restrain trade in violation of the Arizona Revised Statutes §§ 44-1401, et seq.

         (a)     Defendants’ contracts, combinations and/or conspiracies (i) fixed, raised,

         maintained and stabilized Auto Parts prices at artificially high levels throughout Arizona;

         (ii) restrained, suppressed and eliminated price competition for Auto Parts throughout

         Arizona; (iii) deprived GEICO and its insureds and claimants of free and open



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         competition in the Auto Parts Submarkets; and (iv) resulted in GEICO paying supra-

         competitive, artificially high prices for Auto Parts.

         (b)    During the Relevant Time Periods, Defendants’ illegal conduct substantially

         affected Arizona commerce.

         (c)    As a direct and proximate result of Defendants’ unlawful conduct, GEICO has

         been injured in its business and property and is threatened with further injury.

          (d)   Defendants’ agreements and combinations unlawfully fixed Auto Parts prices,

         allocated markets and restrained trade in violation of Ariz. Rev. Stat. §§ 44-1401, et seq.

         Accordingly, GEICO seeks all forms of relief available under Ariz. Rev. Stat. §§ 44-

         1401, et seq.

         201.   Defendants and their co-conspirators agreed and entered contracts to restrain trade

  in violation of the Arkansas Code §§ 4-75-201, et seq.

         (a)    Defendants’ contracts (i) fixed, raised, maintained and stabilized Auto Parts prices

         at artificially high levels throughout Arkansas; (ii) restrained, suppressed and eliminated

         price competition for Auto Parts throughout Arkansas; (iii) deprived GEICO and its

         insureds and claimants of free and open competition in the Auto Parts Submarkets; and

         (iv) resulted in GEICO paying supra-competitive, artificially high prices for Auto Parts.

         (b)    During the Relevant Time Periods, Defendants’ illegal conduct substantially

         affected Arkansas commerce.

         (c)    As a direct and proximate result of Defendants’ unlawful conduct, GEICO has

         been injured in its business and property and is threatened with further injury.




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          (d)    Defendants’ contracts unlawfully fixed Auto Parts prices, allocated markets and

         restrained trade in violation of Arkansas Code, §§ 4-75-201, et seq. Accordingly, GEICO

         seeks all forms of relief available under Arkansas Code, §§ 4-75-201, et seq.

         202.    Defendants and their co-conspirators have entered into trusts to restrict trade and

  fix prices in violation of the California Business and Professions Code §§ 16700, et seq.

         (a)     Defendants and their co-conspirators combined their capital and skill, as well as

         acted, for the purpose of restricting trade or commerce in California and fixing prices.

         Defendants and their co-conspirators also entered into and carried out their contracts and

         agreements with the purpose of establishing and keeping the price of Auto Parts at a fixed

         level in an effort to preclude free competition in the sale of Auto Parts.

         (b)     Defendants’ contracts (i) fixed, raised, maintained and stabilized Auto Parts prices

         at artificially high levels throughout California; (ii) restrained, suppressed and eliminated

         price competition for Auto Parts throughout California; (iii) deprived GEICO and its

         insureds and claimants of free and open competition in the Auto Parts Submarkets; and

         (iv) resulted in GEICO paying supra-competitive, artificially high prices for Auto Parts.

         (c)     During the Relevant Time Periods, Defendants’ illegal conduct substantially

         affected California commerce.

         (d)     As a direct and proximate result of Defendants’ unlawful conduct, GEICO has

         been injured in its business and property and is threatened with further injury.

          (e)    Defendants’ contracts unlawfully fixed Auto Parts prices, allocated markets and

         restrained trade in violation of California Business and Professions Code, § 16720.

         Accordingly, GEICO seeks all forms of relief available under California Business and

         Professions Code §§ 16750.



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         203.    Defendants and their co-conspirators agreed and entered into contracts,

  combinations and/or conspiracies to restrain trade in violation of the Colorado Revised Statutes

  §§ 6-4-101, et seq.

         (a)     Defendants’ contracts, combinations and/or conspiracies (i) fixed, raised,

         maintained and stabilized Auto Parts prices at artificially high levels throughout

         Colorado; (ii) restrained, suppressed and eliminated price competition for Auto Parts

         throughout Colorado; (iii) deprived GEICO and its insureds and claimants of free and

         open competition in the Auto Parts Submarkets; and (iv) resulted in GEICO paying

         supra-competitive, artificially high prices for Auto Parts.

         (b)     During the Relevant Time Periods, Defendants’ illegal conduct substantially

         affected Colorado commerce.

         (c)     As a direct and proximate result of Defendants’ unlawful conduct, GEICO has

         been injured in its business and property and is threatened with further injury.

          (d)    Defendants’ contracts, combinations and/or conspiracies unlawfully fixed Auto

         Parts prices, allocated markets and restrained trade in violation of Colorado Revised

         Statutes §§ 6-4-101, et seq. Accordingly, GEICO seeks all forms of relief available under

         Colorado Revised Statutes §§ 6-4-101, et seq.

         204.    Defendants and their co-conspirators agreed and entered into contracts,

  combinations and/or conspiracies to restrain trade within the District of Columbia in violation of

  the District of Columbia Code §§ 28-4501, et seq.

         (a)     Defendants’ contracts, combinations and/or conspiracies (i) fixed, raised,

         maintained and stabilized Auto Parts prices at artificially high levels throughout the

         District of Columbia; (ii) restrained, suppressed and eliminated price competition for



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         Auto Parts throughout the District of Columbia; (iii) deprived GEICO and its insureds

         and claimants of free and open competition in the Auto Parts Submarkets; and (iv)

         resulted in GEICO paying supra-competitive, artificially high prices for Auto Parts.

         (b)     During the Relevant Time Periods, Defendants’ illegal conduct substantially

         affected commerce in the District of Columbia.

         (c)     As a direct and proximate result of Defendants’ unlawful conduct, GEICO has

         been injured in its business and property and is threatened with further injury.

          (d)    Defendants’ contracts, combinations and/or conspiracies unlawfully fixed Auto

         Parts prices, allocated markets and restrained trade in violation of the District of

         Columbia Code, §§ 28-4501, et seq. Accordingly, GEICO seeks all forms of relief

         available under District of Columbia Code, §§ 28-4501, et seq.

         205.    Defendants and their co-conspirators agreed and entered into contracts,

  combinations and/or conspiracies to restrain trade within Hawaii in violation of the Hawaii

  Revised Statutes §§ 480-1, et seq.

         (a)     Defendants’ contracts, combinations and/or conspiracies (i) fixed, raised,

         maintained and stabilized Auto Parts prices at artificially high levels throughout Hawaii;

         (ii) restrained, suppressed and eliminated price competition for Auto Parts throughout

         Hawaii; (iii) deprived GEICO and its insureds and claimants of free and open

         competition in the Auto Parts Submarkets; and (iv) resulted in GEICO paying supra-

         competitive, artificially high prices for Auto Parts.

         (b)     During the Relevant Time Periods, Defendants’ illegal conduct substantially

         affected commerce in Hawaii.




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            (c)     As a direct and proximate result of Defendants’ unlawful conduct, GEICO has

            been injured in its business and property and is threatened with further injury.

            (d)     Defendants’ contracts, combinations and/or conspiracies unlawfully fixed Auto

            Parts prices, allocated markets and restrained trade in violation of Hawaii Revised

            Statutes §§ 480-1, et seq. Accordingly, GEICO seeks all forms of relief available under

            Hawaii Revised Statutes §§ 480-1, et seq.

            206.    Defendants and their co-conspirators agreed and entered into contracts,

  combinations and/or conspiracies to restrain trade in Idaho in violation of Idaho Code §§ 48-101,

  et seq.

            (a)     Defendants’ contracts, combinations and/or conspiracies (i) fixed, raised,

            maintained and stabilized Auto Parts prices at artificially high levels throughout Idaho;

            (ii) restrained, suppressed and eliminated price competition for Auto Parts throughout

            Idaho; (iii) deprived GEICO and its insureds and claimants of free and open competition

            in the Auto Parts Submarkets; and (iv) resulted in GEICO paying supra-competitive,

            artificially high prices for Auto Parts.

            (b)     During the Relevant Time Periods, Defendants’ illegal conduct substantially

            affected commerce in Idaho.

            (c)     As a direct and proximate result of Defendants’ unlawful conduct, GEICO has

            been injured in its business and property and is threatened with further injury.

            (d)     Defendants’ contracts, combinations and/or conspiracies unlawfully fixed Auto

            Parts prices, allocated markets and restrained trade in violation of Idaho Code §§ 48-101,

            et seq. Accordingly, GEICO seeks all forms of relief available under Idaho Code §§ 48-

            101, et seq.



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         207.    Defendants and their co-conspirators agreed and entered into contracts,

  combinations and/or conspiracies to unreasonably restrain trade in violation of Illinois Compiled

  Statutes 740 §§ 10/1, et seq.

         (a)     Defendants entered contracts and engaged in combinations and conspiracies with

         its competitors for the purpose of fixing prices and allocating markets, which are

         unreasonable restraints of trade.

         (b)     Defendants’ contracts, combinations and/or conspiracies (i) fixed, raised,

         maintained and stabilized Auto Parts prices at artificially high levels throughout Illinois;

         (ii) restrained, suppressed and eliminated price competition for Auto Parts throughout

         Illinois; (iii) deprived GEICO and its insureds and claimants of free and open competition

         in the Auto Parts Submarkets; and (iv) resulted in GEICO paying supra-competitive,

         artificially high prices for Auto Parts.

         (c)     During the Relevant Time Periods, Defendants’ illegal conduct substantially

         affected commerce in Illinois.

         (d)     As a direct and proximate result of Defendants’ unlawful conduct, GEICO has

         been injured in its business and property and is threatened with further injury.

          (e)    Defendants’ contracts, combinations and/or conspiracies unlawfully fixed Auto

         Parts prices, allocated markets and restrained trade in violation of Illinois Compiled

         Statutes 740 §§ 10/1, et seq. Accordingly, GEICO seeks all forms of relief available

         under Illinois Compiled Statutes 740 §§ 10/1, et seq.

         208.    Defendants and their co-conspirators agreed and entered into contracts,

  combinations and/or conspiracies to restrain trade in violation of the Iowa Code §§ 553.1, et seq.




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         (a)     Defendants’ contracts, combinations and/or conspiracies (i) fixed, raised,

         maintained and stabilized Auto Parts prices at artificially high levels throughout Iowa; (ii)

         restrained, suppressed and eliminated price competition for Auto Parts throughout Iowa;

         (iii) deprived GEICO and its insureds and claimants of free and open competition in the

         Auto Parts Submarkets; and (iv) resulted in GEICO paying supra-competitive, artificially

         high prices for Auto Parts.

         (b)     During the Relevant Time Periods, Defendants’ illegal conduct substantially

         affected commerce in Iowa.

         (c)     As a direct and proximate result of Defendants’ unlawful conduct, GEICO has

         been injured in its business and property and is threatened with further injury.

          (d)    Defendants’ contracts, combinations and/or conspiracies unlawfully fixed Auto

         Parts prices, allocated markets and restrained trade in violation of Iowa Code, §§ 553.1,

         et seq. Accordingly, GEICO seeks all forms of relief available under Iowa Code §§

         553.1, et seq.

         209.    Defendants and their co-conspirators entered a trust to restrain trade in violation

  of the Kansas Statutes §§ 50-101, et seq.

         (a)     Defendants combined their capital, skill and acts for the purpose of restricting

         trade, increasing the price of Auto Parts, and preventing competition in the sale of Auto

         Parts. Defendants also made and entered into contracts and agreements to fix and keep

         the price of Auto Parts at a fixed level, thereby precluding free and unrestricted

         competition.

         (b)     Defendants’ contracts, combinations and/or conspiracies (i) fixed, raised,

         maintained and stabilized Auto Parts prices at artificially high levels throughout Kansas;



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         (ii) restrained, suppressed and eliminated price competition for Auto Parts throughout

         Kansas; (iii) deprived GEICO and its insureds and claimants of free and open

         competition in the Auto Parts Submarkets; and (iv) resulted in GEICO paying supra-

         competitive, artificially high prices for Auto Parts.

         (c)     During the Relevant Time Periods, Defendants’ illegal conduct substantially

         affected commerce in Kansas.

         (d)     As a direct and proximate result of Defendants’ unlawful conduct, GEICO has

         been injured in its business and property and is threatened with further injury.

          (e)    Defendants’ contracts, combinations and/or conspiracies unlawfully fixed Auto

         Parts prices, allocated markets and restrained trade in violation of Kansas Statutes §§ 50-

         101, et seq. Accordingly, GEICO seeks all forms of relief available under Kansas Statutes

         §§ 50-101, et seq.

         210.    Defendants and their co-conspirators agreed and entered into contracts,

  combinations and/or conspiracies to restrain trade in Maine in violation of Maine Revised

  Statutes §§ 1101, et seq.

         (a)     Defendants’ contracts, combinations and/or conspiracies (i) fixed, raised,

         maintained and stabilized Auto Parts prices at artificially high levels throughout Maine;

         (ii) restrained, suppressed and eliminated price competition for Auto Parts throughout

         Maine; (iii) deprived GEICO and its insureds and claimants of free and open competition

         in the Auto Parts Submarkets; and (iv) resulted in GEICO paying supra-competitive,

         artificially high prices for Auto Parts.

         (b)     During the Relevant Time Periods, Defendants’ illegal conduct substantially

         affected commerce in Maine.



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         (c)    As a direct and proximate result of Defendants’ unlawful conduct, GEICO has

         been injured in its business and property and is threatened with further injury.

          (d)   Defendants’ contracts, combinations and/or conspiracies unlawfully fixed Auto

         Parts prices, allocated markets and restrained trade in violation of Maine Revised Statutes

         §§ 1101, et seq. Accordingly, GEICO seeks all forms of relief available under Maine

         Revised Statutes §§ 1101, et seq.

         211.    Defendants and their co-conspirators agreed and entered into contracts,

  combinations and/or conspiracies to restrain trade in Massachusetts in violation of Massachusetts

  General Laws 93 §§ 1, et seq.

         (a)    Defendants’ contracts, combinations and/or conspiracies (i) fixed, raised,

         maintained and stabilized Auto Parts prices at artificially high levels throughout

         Massachusetts; (ii) restrained, suppressed and eliminated price competition for Auto Parts

         throughout Massachusetts; (iii) deprived GEICO and its insureds and claimants of free

         and open competition in the Auto Parts Submarkets; and (iv) resulted in GEICO paying

         supra-competitive, artificially high prices for Auto Parts.

         (b)    During the Relevant Time Periods, Defendants’ illegal conduct substantially

         affected commerce in Massachusetts.

         (c)    As a direct and proximate result of Defendants’ unlawful conduct, GEICO has

         been injured in its business and property and is threatened with further injury.

          (d)   Defendants’ contracts, combinations and/or conspiracies unlawfully fixed Auto

         Parts prices, allocated markets and restrained trade in violation of Massachusetts General

         Laws 93 §§ 1, et seq. Accordingly, GEICO seeks all forms of relief available under

         Massachusetts General Laws 93 §§ 1, et seq.



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         212.    Defendants and their co-conspirators agreed and entered into contracts,

  combinations and/or conspiracies to restrain trade in violation of Maryland Code §§ 11-201, et

  seq.

         (a)     Defendants’ contracts, combinations and/or conspiracies (i) fixed, raised,

         maintained and stabilized Auto Parts prices at artificially high levels throughout

         Maryland; (ii) restrained, suppressed and eliminated price competition for Auto Parts

         throughout Maryland; (iii) deprived GEICO and its insureds and claimants of free and

         open competition in the Auto Parts Submarkets; and (iv) resulted in GEICO paying

         supra-competitive, artificially high prices for Auto Parts.

         (b)     During the Relevant Time Periods, Defendants’ illegal conduct substantially

         affected commerce in Maryland.

         (c)     As a direct and proximate result of Defendants’ unlawful conduct, GEICO has

         been injured in its business and property and is threatened with further injury.

          (d)    Defendants’ contracts, combinations and/or conspiracies unlawfully fixed Auto

         Parts prices, allocated markets and restrained trade in violation of Maryland Code §§ 11-

         201, et seq. Accordingly, GEICO seeks all forms of relief available under Maryland Code

         §§ 11-201, et seq.

         213.    Defendants and their co-conspirators agreed and entered into contracts,

  combinations and/or conspiracies to restrain trade in violation of Michigan Compiled Laws §§

  445.771, et seq.

         (a)     Defendants’ contracts, combinations and/or conspiracies (i) fixed, raised,

         maintained and stabilized Auto Parts prices at artificially high levels throughout

         Michigan; (ii) restrained, suppressed and eliminated price competition for Auto Parts



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            throughout Michigan; (iii) deprived GEICO and its insureds and claimants of free and

            open competition in the Auto Parts Submarkets; and (iv) resulted in GEICO paying

            supra-competitive, artificially high prices for Auto Parts.

            (b)    During the Relevant Time Periods, Defendants’ illegal conduct substantially

            affected commerce in Michigan.

            (c)    As a direct and proximate result of Defendants’ unlawful conduct, GEICO has

            been injured in its business and property and is threatened with further injury.

            (d)    Defendants’ contracts, combinations and/or conspiracies unlawfully fixed Auto

            Parts prices, allocated markets and restrained trade in violation of Michigan Compiled

            Laws §§ 445.771, et seq. Accordingly, GEICO seeks all forms of relief available under

            Michigan Compiled Laws §§ 445.771, et seq. and 445.778.

            214.   Defendants and their co-conspirators agreed and entered into contracts,

  combinations and/or conspiracies to restrain trade in violation of Minnesota Statutes §§ 325D.49,

  et seq.

            (a)    Defendants’ contracts, combinations and/or conspiracies (i) fixed, raised,

            maintained and stabilized Auto Parts prices at artificially high levels throughout

            Minnesota; (ii) restrained, suppressed and eliminated price competition for Auto Parts

            throughout Minnesota; (iii) deprived GEICO and its insureds and claimants of free and

            open competition in the Auto Parts Submarkets; and (iv) resulted in GEICO paying

            supra-competitive, artificially high prices for Auto Parts.

            (b)    During the Relevant Time Periods, Defendants’ illegal conduct substantially

            affected commerce in Minnesota.




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         (c)     As a direct and proximate result of Defendants’ unlawful conduct, GEICO has

         been injured in its business and property and is threatened with further injury.

          (d)    Defendants’ contracts, combinations and/or conspiracies unlawfully fixed Auto

         Parts prices, allocated markets and restrained trade in violation of Minnesota Statutes §§

         325D.49, et seq. Accordingly, GEICO seeks all forms of relief available under Minnesota

         Statutes §§ 325D.49, et seq.

         215.    Defendants and their co-conspirators agreed and entered into combinations and

  contracts to restrain trade in violation of Mississippi Code §§ 75-21-1, et seq.

         (a)     Defendants’ agreements, combinations and/or contracts had the effect of (i)

         fixing, raising, maintaining and stabilizing Auto Parts prices at artificially high levels

         throughout Mississippi; (ii) restraining, suppressing and eliminating price competition for

         Auto Parts throughout Mississippi; (iii) depriving GEICO and its insureds and claimants

         of free and open competition in the Auto Parts Submarkets; and (iv) resulting in GEICO

         paying supra-competitive, artificially high prices for Auto Parts.

         (b)     During the Relevant Time Periods, Defendants’ illegal conduct substantially

         affected commerce in Mississippi.

         (c)     As a direct and proximate result of Defendants’ unlawful conduct, GEICO has

         been injured in its business and property and is threatened with further injury.

         (d)     Defendants’ contracts, combinations and agreements unlawfully fixed Auto Parts

         prices, allocated markets and restrained trade in violation of Mississippi Code §§ 75-21-

         1, et seq. Accordingly, GEICO seeks all forms of relief available under Mississippi Code

         §§ 75-21-1, et seq.




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         216.    Defendants and their co-conspirators agreed and entered into combinations and

  contracts to restrain trade in violation of Nebraska Statutes §§ 59-801, et seq.

         (a)     Defendants’ contracts and combinations (i) fixed, raised, maintained and

         stabilized Auto Parts prices at artificially high levels throughout Nebraska; (ii) restrained,

         suppressed and eliminated price competition for Auto Parts throughout Nebraska; (iii)

         deprived GEICO and its insureds and claimants of free and open competition in the Auto

         Parts Submarkets; and (iv) resulted in GEICO paying supra-competitive, artificially high

         prices for Auto Parts.

         (b)     During the Relevant Time Periods, Defendants’ illegal conduct substantially

         affected commerce in Nebraska.

         (c)     As a direct and proximate result of Defendants’ unlawful conduct, GEICO has

         been injured in its business and property and is threatened with further injury.

         (d)     Defendants’ contracts and combinations unlawfully fixed Auto Parts prices,

         allocated markets and restrained trade in violation of Nebraska Statutes §§ 59-801, et seq.

         Accordingly, GEICO seeks all forms of relief available under Nebraska Statutes §§ 59-

         801, et seq.

         217.    Defendants and their co-conspirators agreed and entered into contracts,

  combinations and/or conspiracies to restrain trade in violation of Nevada Revised Statutes §§

  598A.010, et seq.

         (a)     Defendants’ contracts, combinations and/or conspiracies (i) fixed, raised,

         maintained and stabilized Auto Parts prices at artificially high levels throughout Nevada;

         (ii) restrained, suppressed and eliminated price competition for Auto Parts throughout

         Nevada; (iii) allocated markets; (iv) deprived GEICO and its insureds and claimants of



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         free and open competition in the Auto Parts Submarkets; and (v) resulted in GEICO

         paying supra-competitive, artificially high prices for Auto Parts.

         (b)     During the Relevant Time Periods, Defendants’ illegal conduct substantially

         affected commerce in Nevada.

         (c)     As a direct and proximate result of Defendants’ unlawful conduct, GEICO has

         been injured in its business and property and is threatened with further injury.

         (d)     Defendants’ contracts, combinations and/or conspiracies unlawfully fixed Auto

         Parts prices, allocated markets and restrained trade in violation of Nevada Revised

         Statutes §§ 598A.010, et seq. Accordingly, GEICO seeks all forms of relief available

         under Nevada Revised Statutes §§ 598A.010, et seq.

         218.    Defendants and their co-conspirators agreed and entered into contracts,

  combinations and/or conspiracies to restrain trade in violation of New Hampshire Revised

  Statutes §§ 356:1, et seq.

         (a)     Defendants’ contracts, combinations and/or conspiracies (i) fixed, raised,

         maintained and stabilized Auto Parts prices at artificially high levels throughout New

         Hampshire; (ii) restrained, suppressed and eliminated price competition for Auto Parts

         throughout New Hampshire; (iii) allocated markets; (iv) deprived GEICO and its insureds

         and claimants of free and open competition in the Auto Parts Submarkets; and (v)

         resulted in GEICO paying supra-competitive, artificially high prices for Auto Parts.

         (b)     During the Relevant Time Periods, Defendants’ illegal conduct substantially

         affected commerce in New Hampshire.

         (c)     As a direct and proximate result of Defendants’ unlawful conduct, GEICO has

         been injured in its business and property and is threatened with further injury.



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         (d)     Defendants’ contracts, combinations and/or conspiracies unlawfully fixed Auto

         Parts prices, allocated markets and restrained trade in violation of New Hampshire

         Revised Statutes §§ 356:1, et seq. Accordingly, GEICO seeks all forms of relief available

         under New Hampshire Revised Statutes §§ 356:1, et seq.

         219.    Defendants and their co-conspirators entered into contracts, agreements,

  combinations and/or conspiracies to restrain trade in New Mexico in violation of New Mexico

  Statutes §§ 57-1-1, et seq.

         (a)     Defendants’ contracts, combinations and/or conspiracies (i) fixed, raised,

         maintained and stabilized Auto Parts prices at artificially high levels throughout New

         Mexico; (ii) restrained, suppressed and eliminated price competition for Auto Parts

         throughout New Mexico; (iii) deprived GEICO and its insureds and claimants of free and

         open competition in the Auto Parts Submarkets; and (iv) resulted in GEICO paying

         supra-competitive, artificially high prices for Auto Parts.

         (b)     During the Relevant Time Periods, Defendants’ illegal conduct substantially

         affected commerce in New Mexico.

         (c)     As a direct and proximate result of Defendants’ unlawful conduct, GEICO has

         been injured in its business and property and is threatened with further injury.

         (d)     Defendants’ contracts, combinations and/or conspiracies unlawfully fixed Auto

         Parts prices, allocated markets and restrained trade in violation of New Mexico Statutes

         §§ 57-1-1, et seq. Accordingly, GEICO seeks all forms of relief available under New

         Mexico Statutes §§ 57-1-1, et seq.




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            220.   Defendants and their co-conspirators entered into contracts, agreements and/or

  combinations to restrain trade and competition in violation of New York Gen. Bus. Code §§ 340,

  et seq.

            (a)    Defendants’ contracts, combinations and/or conspiracies (i) fixed, raised,

            maintained and stabilized Auto Parts prices at artificially high levels throughout New

            York; (ii) restrained, suppressed and eliminated price competition for Auto Parts

            throughout New York; (iii) deprived GEICO and its insureds and claimants of free and

            open competition in the Auto Parts Submarkets; and (iv) resulted in GEICO paying

            supra-competitive, artificially high prices for Auto Parts.

            (b)    During the Relevant Time Periods, Defendants’ illegal conduct substantially

            affected commerce in New York.

            (c)    As a direct and proximate result of Defendants’ unlawful conduct, GEICO has

            been injured in its business and property and is threatened with further injury.

            (d)    Defendants’ contracts, combinations and/or conspiracies unlawfully fixed Auto

            Parts prices, allocated markets and restrained trade in violation of New York Gen. Bus.

            Code §§ 340, et seq. Accordingly, GEICO seeks all forms of relief available under New

            York Gen. Bus. Code §§ 340, et seq.

            221.   Defendants and their co-conspirators entered into contracts, combinations and/or

  conspiracies to restrain trade in North Carolina in violation of North Carolina General Statutes

  §§ 75-1, et seq.

            (a)    Defendants’ contracts, combinations and/or conspiracies (i) fixed, raised,

            maintained and stabilized Auto Parts prices at artificially high levels throughout North

            Carolina; (ii) restrained, suppressed and eliminated price competition for Auto Parts



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         throughout North Carolina; (iii) deprived GEICO and its insureds and claimants of free

         and open competition in the Auto Parts Submarkets; and (iv) resulted in GEICO paying

         supra-competitive, artificially high prices for Auto Parts.

         (b)     During the Relevant Time Periods, Defendants’ illegal conduct substantially

         affected commerce in North Carolina.

         (c)     As a direct and proximate result of Defendants’ unlawful conduct, GEICO has

         been injured in its business and property and is threatened with further injury.

         (d)     Defendants’ contracts, combinations and/or conspiracies unlawfully fixed Auto

         Parts prices, allocated markets and restrained trade in violation of North Carolina General

         Statutes §§ 75-1, et seq. Accordingly, GEICO seeks all forms of relief available under

         North Carolina General Statutes §§ 75-1, et seq.

         222.    Defendants and their co-conspirators agreed and entered into contracts,

  combinations and/or conspiracies to restrain trade in violation of North Dakota Century Code §§

  51-08.1-01, et seq.

         (a)     Defendants’ contracts, combinations and/or conspiracies (i) fixed, raised,

         maintained and stabilized Auto Parts prices at artificially high levels throughout North

         Dakota; (ii) restrained, suppressed and eliminated price competition for Auto Parts

         throughout North Dakota; (iii) deprived GEICO and its insureds and claimants of free

         and open competition in the Auto Parts Submarkets; and (iv) resulted in GEICO paying

         supra-competitive, artificially high prices for Auto Parts.

         (b)     During the Relevant Time Periods, Defendants’ illegal conduct substantially

         affected commerce in North Dakota.




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         (c)     As a direct and proximate result of Defendants’ unlawful conduct, GEICO has

         been injured in its business and property and is threatened with further injury.

         (d)     Defendants’ contracts, combinations and/or conspiracies unlawfully fixed Auto

         Parts prices, allocated markets and restrained trade in violation of North Dakota Century

         Code §§ 51-08.1-01, et seq. Accordingly, GEICO seeks all forms of relief available under

         North Dakota Century Code §§ 51-08.1-01, et seq.

         223.    Defendants and their co-conspirators agreed and entered into contracts,

  combinations and/or conspiracies to restrain trade in violation of Oregon Revised Statutes §§

  646.705, et seq.

         (a)     Defendants’ contracts, combinations and/or conspiracies (i) fixed, raised,

         maintained and stabilized Auto Parts prices at artificially high levels throughout Oregon;

         (ii) restrained, suppressed and eliminated price competition for Auto Parts throughout

         Oregon; (iii) deprived GEICO and its insureds and claimants of free and open

         competition in the Auto Parts Submarkets; and (iv) resulted in GEICO paying supra-

         competitive, artificially high prices for Auto Parts.

         (b)     During the Relevant Time Periods, Defendants’ illegal conduct substantially

         affected commerce in Oregon.

         (c)     As a direct and proximate result of Defendants’ unlawful conduct, GEICO has

         been injured in its business and property and is threatened with further injury.

         (d)     Defendants’ contracts, combinations and/or conspiracies unlawfully fixed Auto

         Parts prices, allocated markets and restrained trade in violation of Oregon Revised

         Statutes §§ 646.705, et seq. Accordingly, GEICO seeks all forms of relief available under

         Oregon Revised Statutes §§ 646.705, et seq.



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         224.       Defendants and their co-conspirators agreed and entered into contracts,

  combinations and/or conspiracies to restrain trade in violation of Rhode Island General Laws §§

  6-36-1, et seq.

         (a)        Defendants’ contracts, combinations and/or conspiracies (i) fixed, raised,

         maintained and stabilized Auto Parts prices at artificially high levels throughout Rhode

         Island; (ii) restrained, suppressed and eliminated price competition for Auto Parts

         throughout Rhode Island; (iii) deprived GEICO and its insureds and claimants of free and

         open competition in the Auto Parts Submarkets; and (iv) resulted in GEICO paying

         supra-competitive, artificially high prices for Auto Parts.

         (b)        During the Relevant Time Periods, Defendants’ illegal conduct substantially

         affected commerce in Rhode Island.

         (c)        As a direct and proximate result of Defendants’ unlawful conduct, GEICO has

         been injured in its business and property and is threatened with further injury.

         (d)        Defendants’ contracts, combinations and/or conspiracies unlawfully fixed Auto

         Parts prices, allocated markets and restrained trade in violation of Rhode Island General

         Laws §§ 6-36-1, et seq. Accordingly, GEICO seeks all forms of relief available under

         Rhode Island General Laws §§ 6-36-1, et seq.

         225.       Defendants and their co-conspirators agreed and entered into contracts,

  combinations and/or conspiracies to restrain trade in South Dakota in violation of South Dakota

  Codified Laws §§ 37-1-3.1, et seq.

         (a)        Defendants’ contracts, combinations and/or conspiracies (i) fixed, raised,

         maintained and stabilized Auto Parts prices at artificially high levels throughout South

         Dakota; (ii) restrained, suppressed and eliminated price competition for Auto Parts



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         throughout South Dakota; (iii) deprived GEICO and its insureds and claimants of free

         and open competition in the Auto Parts Submarkets; and (iv) resulted in GEICO paying

         supra-competitive, artificially high prices for Auto Parts.

         (b)    During the Relevant Time Periods, Defendants’ illegal conduct substantially

         affected commerce in South Dakota.

         (c)    As a direct and proximate result of Defendants’ unlawful conduct, GEICO has

         been injured in its business and property and is threatened with further injury.

         (d)    Defendants’ contracts, combinations and/or conspiracies unlawfully fixed Auto

         Parts prices, allocated markets and restrained trade in violation of South Dakota Codified

         Laws §§ 37-1-3.1, et seq. Accordingly, GEICO seeks all forms of relief available under

         South Dakota Codified Laws §§ 37-1-3.1, et seq.

         226.   Defendants and their co-conspirators entered into contracts, agreements, trusts

  and/or combinations to restrain competition in violation of Tennessee Code §§ 47-25-101, et seq.

         (a)    Defendants’ contracts, combinations, agreements and/or trusts (i) fixed, raised,

         maintained and stabilized Auto Parts prices at artificially high levels throughout

         Tennessee; (ii) restrained, suppressed and eliminated price competition for Auto Parts

         throughout Tennessee; (iii) deprived GEICO and its insureds and claimants of free and

         open competition in the Auto Parts Submarkets; and (iv) resulted in GEICO paying

         supra-competitive, artificially high prices for Auto Parts.

         (b)    During the Relevant Time Periods, Defendants’ illegal conduct substantially

         affected commerce in Tennessee.

         (c)    As a direct and proximate result of Defendants’ unlawful conduct, GEICO has

         been injured in its business and property and is threatened with further injury.



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         (d)      Defendants’ contracts, combinations and/or conspiracies unlawfully fixed Auto

         Parts prices, allocated markets and restrained trade in violation of Tennessee Code §§ 47-

         25-101, et seq. Accordingly, GEICO seeks all forms of relief available under Tennessee

         Code §§ 47-25-101, et seq.

         227.     Defendants and their co-conspirators agreed and entered into contracts,

  combinations and/or conspiracies to restrain competition in violation of Utah Code §§ 76-10-

  3101, et seq.

         (a)      Defendants’ contracts, combinations and/or conspiracies (i) fixed, raised,

         maintained and stabilized Auto Parts prices at artificially high levels throughout Utah; (ii)

         restrained, suppressed and eliminated price competition for Auto Parts throughout Utah;

         (iii) deprived GEICO and its insureds and claimants of free and open competition in the

         Auto Parts Submarkets; and (iv) resulted in GEICO paying supra-competitive, artificially

         high prices for Auto Parts.

         (b)      During the Relevant Time Periods, Defendants’ illegal conduct substantially

         affected commerce in Utah.

         (c)      As a direct and proximate result of Defendants’ unlawful conduct, GEICO has

         been injured in its business and property and is threatened with further injury.

         (d)      Defendants’ contracts, combinations and/or conspiracies unlawfully fixed Auto

         Parts prices, allocated markets and restrained trade in violation of Utah Code §§ 76-10-

         3101, et seq. Accordingly, GEICO seeks all forms of relief available under Utah Code §§

         76-10-3101, et seq.




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         228.     Defendants and their co-conspirators agreed and entered into contracts,

  combinations and/or conspiracies to restrain competition in violation of Vermont Statutes 9 §§

  2453, et seq.

         (a)      Defendants’ contracts, combinations and/or conspiracies (i) fixed, raised,

         maintained and stabilized Auto Parts prices at artificially high levels throughout

         Vermont; (ii) restrained, suppressed and eliminated price competition for Auto Parts

         throughout Vermont; (iii) deprived GEICO and its insureds and claimants of free and

         open competition in the Auto Parts Submarkets; (iv) resulted in GEICO paying supra-

         competitive, artificially high prices for Auto Parts; and (v) constituted an unfair method

         of competition.

         (b)      During the Relevant Time Periods, Defendants’ illegal conduct substantially

         affected commerce in Vermont.

         (c)      As a direct and proximate result of Defendants’ unlawful conduct, GEICO has

         been injured in its business and property and is threatened with further injury.

         (d)      Defendants’ contracts, combinations and/or conspiracies unlawfully fixed Auto

         Parts prices, allocated markets and restrained trade in violation of Vermont Statutes 9 §§

         2453, et seq. Accordingly, GEICO seeks all forms of relief available under Vermont

         Statutes 9 §§ 2453, et seq.

         229.     Defendants and their co-conspirators agreed and entered into contracts,

  combinations and/or conspiracies to restrain competition in violation of West Virginia Code §§

  47-18-1, et seq.

         (a)      Defendants’ contracts, combinations and/or conspiracies (i) fixed, raised,

         maintained and stabilized Auto Parts prices at artificially high levels throughout West



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         Virginia; (ii) restrained, suppressed and eliminated price competition for Auto Parts

         throughout West Virginia; (iii) allocated markets; (iv) deprived GEICO and its insureds

         and claimants of free and open competition in the Auto Parts Submarkets; and (v)

         resulted in GEICO paying supra-competitive, artificially high prices for Auto Parts.

         (b)        During the Relevant Time Periods, Defendants’ illegal conduct substantially

         affected commerce in West Virginia.

         (c)        As a direct and proximate result of Defendants’ unlawful conduct, GEICO has

         been injured in its business and property and is threatened with further injury.

         (d)        Defendants’ contracts, combinations and/or conspiracies unlawfully fixed Auto

         Parts prices, allocated markets and restrained trade in violation of West Virginia Code §§

         47-18-1, et seq. Accordingly, GEICO seeks all forms of relief available under West

         Virginia Code §§ 47-18-1, et seq.

         230.       Defendants and their co-conspirators agreed and entered into contracts,

  combinations and/or conspiracies to restrain competition in violation of Wisconsin Statutes §§

  133.01, et seq.

         (a)        Defendants’ contracts, combinations and/or conspiracies (i) fixed, raised,

         maintained and stabilized Auto Parts prices at artificially high levels throughout

         Wisconsin; (ii) restrained, suppressed and eliminated price competition for Auto Parts

         throughout Wisconsin; (iii) deprived GEICO and its insureds and claimants of free and

         open competition in the Auto Parts Submarkets; and (iv) resulted in GEICO paying

         supra-competitive, artificially high prices for Auto Parts.

         (b)        During the Relevant Time Periods, Defendants’ illegal conduct substantially

         affected commerce in Wisconsin.



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         (c)      As a direct and proximate result of Defendants’ unlawful conduct, GEICO has

         been injured in its business and property and is threatened with further injury.

         (d)      Defendants’ contracts, combinations and conspiracies unlawfully fixed Auto Parts

         prices, allocated markets and restrained trade in violation of Wisconsin Statutes §§

         133.01, et seq. Accordingly, GEICO seeks all forms of relief available under Wisconsin

         Statutes §§ 133.01, et seq.

         231.     GEICO in each of the above states has been injured in its business and property

  by reason of Defendants’ unlawful combinations, contracts, conspiracies and agreements.

  GEICO has paid more for Auto Parts than it otherwise would have paid in the absence of

  Defendants’ unlawful conduct. This injury is of the type the antitrust laws of the above states

  were designed to prevent and flows from that which makes Defendants’ conduct unlawful.

         232.     In addition, Defendants have profited significantly from the described

  conspiracies.   Defendants’ profits derived from their anticompetitive conduct come at the

  expense and detriment of GEICO and its insureds and claimants.

         233.     Accordingly, GEICO seeks damages (including statutory damages where

  applicable) in each of the above jurisdictions, to be trebled or otherwise increased as permitted

  by a particular jurisdiction’s law, and costs of suit, including reasonable attorneys’ fees, to the

  extent permitted by the above state laws.

                                  THIRD CLAIM FOR RELIEF
                             Violation of State Consumer Protection Statutes

         234.     GEICO incorporates and realleges, as though fully set forth herein, the allegations

  in Paragraphs 1-233 of this Complaint.




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         235.    Defendants engaged in unfair competition and unfair, unconscionable, deceptive

  or fraudulent acts or practices in violation of the state consumer protection and unfair

  competition statutes listed below.

         236.    Defendants have knowingly entered into unlawful agreements in restraint of trade

  in violation of Alaska Statutes §§ 45-50-471, et seq.

         (a)     The Defendants knowingly agreed to, and did in fact, restrain trade or commerce

         by fixing, controlling and/or maintaining at non-competitive and artificially inflated

         levels, the prices at which Auto Parts were sold, distributed or obtained in Alaska and

         undertook efforts to conceal their agreements from GEICO and other purchasers.

         (b)     Defendants’ unlawful conduct constitutes “unfair methods of competition” and

         “unfair or deceptive acts or practices” in violation of Alaska Statutes, §§ 45-50-471, et

         seq.

         (c)     Defendants’ unlawful conduct had the following effects:         (1) Auto Parts prices

         were raised, fixed, maintained and stabilized at artificially high levels throughout Alaska;

         (2) Auto Parts price competition was restrained, suppressed and eliminated throughout

         Alaska; (3) GEICO was deprived of free and open competition; and (4) GEICO paid

         supra-competitive, artificially inflated prices for Auto Parts.

         (d)     During the Relevant Time Periods, the Defendants’ illegal conduct substantially

         affected Alaska commerce and consumers.

         (e)     As a direct and proximate result of the unlawful conduct of the Defendants,

         GEICO has been injured in its business and property and is threatened with further injury.




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         (f)     Defendants have engaged in unfair methods of competition and unfair or

         deceptive acts or practices in violation of Alaska Statutes §§ 45-50-471, et seq. and,

         accordingly, GEICO seeks all relief available under that statute.

         237.    Defendants have knowingly entered into unlawful agreements in restraint of trade

  in violation of the Arkansas Code, § 4-88-101, et seq.

         (a)     The Defendants knowingly agreed to, and did in fact, restrain trade or commerce

         by fixing, controlling and/or maintaining at non-competitive and artificially inflated

         levels, the prices at which Auto Parts were sold, distributed or obtained in Arkansas and

         undertook efforts to conceal their agreements from GEICO and other purchasers.

         (b)     Defendants’ unlawful conduct constitutes deceptive and unconscionable trade

         practices in violation of Arkansas Code, § 4-88-107(a)(10).

         (c)     Defendants’ unlawful conduct had the following effects:     (1) Auto Parts prices

         were raised, fixed, maintained and stabilized at artificially high levels throughout

         Arkansas; (2) Auto Parts price competition was restrained, suppressed and eliminated

         throughout Arkansas; (3) GEICO was deprived of free and open competition; and (4)

         GEICO paid supra-competitive, artificially inflated prices for Auto Parts.

         (d)     During the Relevant Time Periods, the Defendants’ illegal conduct substantially

         affected Arkansas commerce and consumers.

         (e)     As a direct and proximate result of the unlawful conduct of the Defendants,

         GEICO has been injured in its business and property and is threatened with further injury.

         (f)     Defendants have engaged in unfair competition and unfair or deceptive acts or

         practices in violation of Arkansas Code, § 4-88-107(a)(10) and, accordingly, GEICO

         seeks all relief available under that statute.



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         238.   Defendants have engaged in unfair competition and unlawful, unfair and/or

  deceptive acts or practices in violation of California Business and Professions Code §§ 17200, et

  seq.

         (a)    During the Relevant Time Periods, Defendants marketed, sold and/or distributed

         Auto Parts in California.

         (b) Defendants’ unlawful conduct constitutes “unfair competition” in violation of

         California Business and Professions Code § 17200.

         (c)    Defendants’ unlawful conduct had the following effects:      (1) Auto Parts prices

         were raised, fixed, maintained and stabilized at artificially high levels throughout

         California; (2) Auto Parts price competition was restrained, suppressed and eliminated

         throughout California; (3) GEICO was deprived of free and open competition; and (4)

         GEICO paid supra-competitive, artificially inflated prices for Auto Parts.

          (d)   The effects of Defendants’ illegal conduct continue, and there is no indication that

         Defendants will cease such activity into the future.

         (e)    Defendants’ unlawful and unfair business practices, as described above, have

         caused and continue to cause GEICO to pay supra-competitive and artificially-inflated

         prices for Auto Parts. GEICO suffered injury-in-fact and lost money or property as a

         result of such unfair competition.

         (f)    GEICO is entitled to full restitution and/or disgorgement of all revenues, earnings,

         profits, compensation and benefits that may have been obtained by Defendants as a result

         of such business acts or practices.

          (g)   As alleged in this Complaint, Defendants and their co-conspirators have been

         unjustly enriched as a result of their wrongful conduct and by Defendants’ unfair



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         competition. GEICO is accordingly entitled to equitable relief, including restitution

         and/or disgorgement of all revenues, earnings, profits, compensation and benefits that

         may have been obtained by Defendants as a result of such business practices, pursuant to

         the California Business and Professions Code, §§ 17203 and 17204.

         239.   Defendants have knowingly entered into unlawful agreements in restraint of trade

  in violation of the Florida Deceptive and Unfair Trade Practices Act, Fla. Stat. §§ 501.201, et

  seq.

         (a)    The Defendants knowingly agreed to, and did in fact, restrain competition by

         fixing, controlling and/or maintaining at non-competitive and artificially inflated levels

         the prices at which Auto Parts were sold, distributed or obtained in Florida and undertook

         efforts to conceal their agreements from GEICO and other purchasers.

         (b)    Defendants’ unlawful conduct constitutes unfair competition as well as

         unconscionable, unfair and deceptive trade practices in violation of Florida’s Deceptive

         and Unfair Trade Practices Act.

         (c)    Defendants’ unlawful conduct had the following effects:         (1) Auto Parts price

         competition was restrained, suppressed and eliminated throughout Florida; (2) Auto Parts

         prices were raised, fixed, maintained and stabilized at artificially high levels throughout

         Florida; (3) GEICO was deprived of free and open competition; and (4) GEICO paid

         supra-competitive, artificially inflated prices for Auto Parts.

         (d)    During the Relevant Time Periods, Defendants’ illegal conduct substantially

         affected Florida commerce and consumers.

         (e)    As a direct and proximate result of Defendants’ unlawful conduct, GEICO has

         been injured and is threatened with further injury.



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         (f)    Defendants have engaged in unfair competition and unconscionable, unfair and

         deceptive acts or practices in violation of Florida Stat. §§ 501.201, et seq., and,

         accordingly, GEICO seeks all relief available under that statute.

         240.   Defendants have knowingly entered into unlawful agreements in restraint of trade

  in violation of the Idaho Consumer Protection Act, Idaho Code §§ 48-601, et seq.

         (a)    The Defendants knowingly agreed to, and did in fact, restrain competition by

         fixing, controlling and/or maintaining at non-competitive and artificially inflated levels

         the prices at which Auto Parts were sold, distributed or obtained in Idaho and undertook

         efforts to conceal their agreements from GEICO and other purchasers.

         (b)    Defendants’ unlawful conduct constitutes deceptive and unconscionable trade

         practices in violation of Idaho Code §§ 48-603(17), (18) and 48-603C.

         (b)    Defendants’ unlawful conduct had the following effects:         (1) Auto Parts price

         competition was restrained, suppressed and eliminated throughout Idaho; (2) Auto Parts

         prices were raised, fixed, maintained and stabilized at artificially high levels throughout

         Idaho; (3) GEICO was deprived of free and open competition; and (4) GEICO paid

         supra-competitive, artificially inflated prices for Auto Parts.

         (c)    During the Relevant Time Periods, Defendants’ illegal conduct substantially

         affected Idaho commerce and consumers.

         (d)    As a direct and proximate result of Defendants’ unlawful conduct, GEICO have

         been injured and is threatened with further injury.

         (e)    Defendants have engaged in unfair competition and unconscionable, unfair and

         deceptive acts or practices in violation of Idaho Code §§ 48-601, et seq., and,

         accordingly, GEICO seeks all relief available under that statute.



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         241.   Defendants have knowingly entered into unlawful agreements in restraint of trade

  and commerce in violation of Massachusetts General Laws c. 93A §§ 2, 11.

         (a)    The Defendants knowingly agreed to, and did in fact, restrain trade or commerce

         in Massachusetts by affecting, fixing, controlling and/or maintaining at artificial and non-

         competitive levels the prices at which Auto Parts were sold, distributed or obtained in

         Massachusetts and undertook efforts to conceal their agreements from GEICO and other

         purchasers.

         (b)    Defendants’ unlawful conduct constitutes unfair competition and unfair and

         deceptive trade practices in violation of Mass. G.L. c. 93A § 2.

         (c)    Defendants’ unlawful conduct had the following effects: (1) Auto Parts price

         competition was restrained, suppressed and eliminated throughout Massachusetts; (2)

         Auto Parts prices were raised, fixed, maintained and stabilized at artificially high levels

         throughout Massachusetts; (3) GEICO was deprived of free and open competition; and

         (4) GEICO paid supra-competitive, artificially inflated prices for Auto Parts.

         (d)    As a direct and proximate result of Defendants’ unlawful conduct, GEICO was

         injured and is threatened with further injury.

         (e)    By reason of the foregoing, Defendants engaged in unfair competition and unfair

         or deceptive acts or practices in violation of Mass. G.L. c. 93A §§ 2, 11. Defendants and

         their co-conspirators’ violations of Chapter 93A were knowing and willful, entitling

         GEICO to treble damages.

         242.    Defendants have knowingly entered into unlawful agreements in restraint of trade

  and commerce in violation of Nevada Revised Statutes §§ 598.0903, et seq.




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         (a)    The Defendants knowingly agreed to, and did in fact, restrain trade or commerce

         in Nevada by affecting, fixing, controlling and/or maintaining at artificial and non-

         competitive levels the prices at which Auto Parts were sold, distributed or obtained in

         Nevada and undertook efforts to conceal their agreements from GEICO and other

         purchasers.

         (b)    Defendants’ unlawful conduct constitutes deceptive trade practices in violation of

         Nevada Revised Statutes §§ 598.0923(3) because Defendants knowingly violated §§

         598A.010, et seq.

         (c)    Defendants’ unlawful conduct had the following effects: (1) Auto Parts price

         competition was restrained, suppressed and eliminated throughout Nevada; (2) Auto Parts

         prices were raised, fixed, maintained and stabilized at artificially high levels throughout

         Nevada; (3) GEICO was deprived of free and open competition; and (4) GEICO paid

         supra-competitive, artificially inflated prices for Auto Parts.

         (d)    As a direct and proximate result of Defendants’ unlawful conduct, GEICO was

         injured and is threatened with further injury.

         (e)    By reason of the foregoing, Defendants engaged in unfair competition and unfair

         or deceptive acts or practices in violation of Nevada Revised Statutes §§ 598.0903, et

         seq., and, accordingly, GEICO seeks all relief available under that statute.

         243.   Defendants have knowingly entered into unlawful agreements in restraint of trade

  and commerce in violation of New Hampshire Revised Statutes §§ 358-A:1, et seq.

         (a)    The Defendants knowingly agreed to, and did in fact, restrain trade or commerce

         in New Hampshire by affecting, fixing, controlling and/or maintaining at artificial and

         noncompetitive levels the prices at which Auto Parts were sold, distributed or obtained in



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         New Hampshire and undertook efforts to conceal their agreements from GEICO and

         other purchasers.

         (b)    Defendants’ unlawful conduct constitutes unfair methods of competition and

         unfair and deceptive trade practices in violation of New Hampshire Revised Statutes §§

         358-A:2(XIV) because Defendants priced Auto Parts in a manner that harmed

         competition.

         (c)    Defendants’ unlawful conduct had the following effects: (1) Auto Parts price

         competition was restrained, suppressed and eliminated throughout New Hampshire; (2)

         Auto Parts prices were raised, fixed, maintained and stabilized at artificially high levels

         throughout New Hampshire; (3) GEICO was deprived of free and open competition; and

         (4) GEICO paid supra-competitive, artificially inflated prices for Auto Parts.

         (d)    As a direct and proximate result of Defendants’ unlawful conduct, GEICO was

         injured and is threatened with further injury.

         (e)    By reason of the foregoing, Defendants engaged in unfair competition and unfair

         or deceptive acts or practices, in violation of New Hampshire Revised Statutes §§ 358-

         A:1, et seq., and, accordingly, GEICO seeks all relief available under that statute.

         244.   Defendants have knowingly entered into unlawful agreements in restraint of trade

  and commerce in violation of New Mexico Stat. §§ 57-12-1, et seq.

         (a)    Defendants agreed to, and did in fact, restrain trade or commerce by affecting,

         fixing, controlling and/or maintaining at noncompetitive and artificially inflated levels

         the prices at which Auto Parts were sold, distributed or obtained in New Mexico and took

         efforts to conceal their agreements from GEICO and other purchasers.




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       (b)    Defendants’ unlawful conduct constitutes “unconscionable trade practices” in

       violation of N.M.S.A. Stat. §§ 57-12-3 and 57-12-2, in that (i) Defendants took advantage

       of GEICO’s lack of knowledge of what the price of Auto Parts should be in a competitive

       market and (ii) such conduct resulted in a gross disparity between the value received by

       GEICO and the prices GEICO paid for Auto Parts as set forth in N.M.S.A., § 57-12-2(E).

       GEICO was not aware of Defendants’ price-fixing and market allocation conspiracies

       and was therefore unaware that it was being unfairly and illegally overcharged. As

       indirect purchasers, GEICO paid repair professionals, or reimbursed its insureds and

       claimants, for Auto Parts. GEICO did not, and could not, directly negotiate Auto Parts

       prices with the Defendants. The suppression of competition that has resulted from

       Defendants’ conspiracies has ultimately resulted in unconscionably higher prices for

       consumers so that there was a gross disparity between the price paid and the value

       received for Auto Parts not only for GEICO, but also for consumers.

       (c)    Defendants’ unlawful conduct had the following effects:      (1) Auto Parts price

       competition was restrained, suppressed and eliminated throughout New Mexico; (2) Auto

       Parts prices were raised, fixed, maintained and stabilized at artificially high levels

       throughout New Mexico; (3) GEICO was deprived of free and open competition; and (4)

       GEICO paid supra- competitive, artificially inflated prices for Auto Parts.

       (d)    During the Relevant Time Periods, Defendants’ illegal conduct substantially

       affected New Mexico commerce and consumers.

       (e)    As a direct and proximate result of the unlawful conduct of the Defendants,

       GEICO has been injured and is threatened with further injury.




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         (f)     Defendants have engaged in unconscionable trade practices in violation of New

         Mexico Stat. §§ 57-12-1, et seq., and, accordingly, GEICO seeks all relief available under

         that statute.

         245.    Defendants have engaged in unfair competition or unfair, unconscionable or

  deceptive acts and/or practices in violation of N.Y. Gen. Bus. Law § 349, et seq.

         (a)     Defendants agreed to, and did in fact, restrain trade or commerce by affecting,

         fixing, controlling and/or maintaining at artificial and non-competitive levels, the prices

         at which Auto Parts were sold, distributed or obtained in New York and took efforts to

         conceal their agreements from GEICO and other purchasers.

         (b)     Defendants’ unlawful conduct constituted consumer-oriented deceptive acts or

         practices within the meaning of N.Y. Gen. Bus. Law § 349. Defendants’ deceptive

         practices injured consumers and adversely impacted the public at large.

         (c)     Defendants and their co-conspirators’ public statements about the prices of Auto

         Parts   omitted   material    information,    and   Defendants    therefore    affirmatively

         misrepresented the true cause of price increases for Auto Parts. Defendants alone

         possessed material information that was relevant to GEICO and other purchasers, but

         failed to provide the information. A reasonable consumer would have been misled by

         Defendants’ statements as to the prices of Auto Parts.

         (d)     Defendants knew that their unlawful trade practices with respect to pricing Auto

         Parts would have an impact on consumers and indirect purchasers of Auto Parts and not

         just the Defendants’ direct customers.

         (e)     Defendants’ unlawful conduct had the following effects:     (1) Auto Parts price

         competition was restrained, suppressed and eliminated throughout New York; (2) Auto



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         Parts prices were raised, fixed, maintained and stabilized at artificially high levels

         throughout New York; (3) GEICO and New York consumers were deprived of free and

         open competition; and (4) GEICO and New York consumers paid supra-competitive,

         artificially inflated prices for Auto Parts.

         (f)     During the Relevant Time Periods, each of the Defendants named herein, directly,

         or indirectly and through affiliates they dominated and controlled, manufactured, sold

         and/or distributed Auto Parts in New York.

         (g)     During the Relevant Time Periods, Defendants marketed, sold and/or distributed

         Auto Parts in New York, and Defendants’ illegal conduct substantially affected New

         York commerce and consumers.

          (h)    As a direct and proximate result of the unlawful conduct of the Defendants,

         GEICO has been injured and is threatened with further injury.

         (i)     GEICO seeks all relief available pursuant to N.Y. Gen. Bus. Law § 349 (h).

         246.    Defendants have knowingly entered into unlawful agreements in restraint of trade

  and commerce in violation of North Carolina Gen. Stat. § 75-1.1, et seq.

         (a) Defendants agreed to, and did in fact, restrain trade or commerce by affecting, fixing,

         controlling and/or maintaining, at artificial and non-competitive levels the prices at which

         Auto Parts were sold, distributed or obtained in North Carolina and took efforts to

         conceal their agreements from GEICO and other purchasers.

         (b)     Defendants’ unlawful conduct constitutes unfair methods of competition and

         unfair and deceptive trade practices affecting commerce in violation of North Carolina

         Gen. Stat. § 75-1.1.




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       (c) Defendants’ price-fixing and market allocation conspiracies could not have succeeded

       absent deceptive conduct by Defendants to cover up their illegal acts. Secrecy was

       integral to the formation, implementation and maintenance of Defendants’ price-fixing

       and market allocation conspiracies. Defendants’ public statements concerning the price of

       Auto Parts created the illusion of competitive pricing controlled by market forces rather

       than supra-competitive pricing driven by Defendants’ illegal conspiracies. Moreover,

       Defendants deceptively concealed their unlawful activities by mutually agreeing not to

       divulge the existence of the conspiracies to outsiders, conducting meetings and

       conversations in secret, confining the plan to a small group of higher-level officials at

       each company and avoiding the creation of documents that would reveal the antitrust

       violations.

       (d)    Defendants’ conduct injured consumers and adversely impacted the North

       Carolina public at large.

       (e)    Defendants’ unlawful conduct had the following effects: (1) Auto Parts price

       competition was restrained, suppressed and eliminated throughout North Carolina; (2)

       Auto Parts prices were raised, fixed, maintained and stabilized at artificially high levels

       throughout North Carolina; (3) GEICO was deprived of free and open competition; and

       (4) GEICO paid supra-competitive, artificially inflated prices for Auto Parts.

       (f)    During the Relevant Time Periods, Defendants marketed, sold or distributed Auto

       Parts in North Carolina, and Defendants’ illegal conduct substantially affected North

       Carolina commerce and consumers.




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         (g)    During the Relevant Time Periods, each of the Defendants named herein, directly,

         or indirectly and through affiliates they dominated and controlled, manufactured, sold

         and/or distributed Auto Parts in North Carolina.

         (h)    Defendants have engaged in unfair methods of competition and unfair and

         deceptive trade practices in violation of North Carolina Gen. Stat. § 75-1.1, et seq., and,

         accordingly, GEICO seeks all relief available under that statute.

         247.   Defendants have knowingly entered into unlawful agreements in restraint of trade

  and commerce in violation of South Carolina Code of Laws §§ 39-5-10, et seq.

         (a)    The Defendants knowingly agreed to, and did in fact, restrain trade or commerce

         in South Carolina by affecting, fixing, controlling and/or maintaining at artificial and

         noncompetitive levels the prices at which Auto Parts were sold, distributed or obtained in

         South Carolina and undertook efforts to conceal their agreements from GEICO and other

         purchasers.

         (b)    Defendants’ unlawful conduct constituted unfair methods of competition and

         unfair and deceptive trade practices in violation of South Carolina Code of Laws § 39-5-

         10.

         (c)    Defendants’ unlawful conduct had the following effects: (1) Auto Parts price

         competition was restrained, suppressed and eliminated throughout South Carolina; (2)

         Auto Parts prices were raised, fixed, maintained and stabilized at artificially high levels

         throughout South Carolina; (3) GEICO was deprived of free and open competition; and

         (4) GEICO paid supra-competitive, artificially inflated prices for Auto Parts.

         (d)    As a direct and proximate result of Defendants’ unlawful conduct, GEICO was

         injured and is threatened with further injury.



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         (e)    By reason of the foregoing, Defendants knowingly and willfully engaged in unfair

         competition and unfair and deceptive acts or practices, in violation of South Carolina

         Code of Laws §§ 39-5-10, et seq., and, accordingly, GEICO seeks all relief available

         under that statute.

         248.   Defendants have knowingly entered into unlawful agreement in restraint of trade

  and commerce in violation of 9 Vermont § 2451, et seq.

         (a)    Defendants agreed to, and did in fact, restrain trade or commerce in a market that

         includes Vermont, by affecting, fixing, controlling and/or maintaining, at artificial and

         non-competitive levels, the prices at which Auto Parts were sold, distributed, or obtained

         in Vermont.

         (b)    Defendants’ unlawful conduct constituted unfair methods of competition and

         unfair and deceptive trade practices in violation of 9 Vermont § 2453.

         (c)    Defendants deliberately failed to disclose material facts to GEICO, purchasers

         and consumers concerning Defendants’ unlawful activities and artificially inflated prices

         for Auto Parts. Defendants owed a duty to disclose such facts and breached that duty.

         Defendants misrepresented to all consumers during the Relevant Time Periods that

         Defendants’ Auto Parts prices were competitive and fair.

         (d)    Defendants’ unlawful conduct had the following effects:      (1) Auto Parts price

         competition was restrained, suppressed, and eliminated throughout Vermont; (2) Auto

         Parts prices were raised, fixed, maintained, and stabilized at artificially high levels

         throughout Vermont; (3) GEICO was deprived of free and open competition; and (4)

         GEICO paid supra-competitive, artificially inflated prices for Auto Parts.




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         (e)    As a direct and proximate result of Defendants’ unlawful conduct, GEICO was

         injured and is threatened with further injury.

         (f)    Defendants’ misleading conduct constitutes unfair competition and unfair and

         deceptive acts or practices in violation of 9 Vermont § 2451, et seq., and, accordingly,

         GEICO seeks all relief available under that statute.

                                 FOURTH CLAIM FOR RELIEF
                                     Unjust Enrichment

         249.   GEICO incorporates by reference the allegations Paragraphs 1-248.

         250.   GEICO brings claims for unjust enrichment in the following states: Alabama,

  Arizona, Arkansas, California, Colorado, DC, Hawaii, Idaho, Illinois, Iowa, Kansas, Maine,

  Massachusetts, Maryland, Michigan, Minnesota, Mississippi, Nebraska, Nevada, New

  Hampshire, New Mexico, New York, North Carolina, North Dakota, Rhode Island, South

  Dakota, Tennessee, Utah, Vermont, West Virginia and Wisconsin.

         251.   GEICO paid inflated prices for Auto Parts and vehicles because of Defendants’

  unlawful price-fixing and market allocation conspiracies. By paying these inflated prices for

  Auto Parts, GEICO paid more for Auto Parts and vehicles declared a total loss than it would

  have in the absence of the anticompetitive conspiratorial conduct. The differential between the

  inflated prices and the prices in a competitive market for Auto Parts and vehicles was a benefit

  that GEICO conferred on Defendants.

         252.   Defendants knew that GEICO and other purchasers were overcharged for Auto

  Parts and vehicles and that GEICO thus conferred a benefit on them. Defendants intentionally

  entered the conspiracies to induce the overpayment by GEICO and other purchasers.




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         253.    As a result of their unlawful conduct described above, Defendants have and will

  continue to be unjustly enriched. Defendants have been unjustly enriched by the receipt of, at a

  minimum, unlawfully inflated prices and unlawful profits on sales of Auto Parts.

         254.    Defendants have benefited from their unlawful acts, and it would be inequitable

  for Defendants to be permitted to retain any of the ill-gotten gains resulting from the

  overpayments made by GEICO for Auto Parts.

         255.    GEICO is entitled to the amount of Defendants’ ill-gotten gains resulting from

  their unlawful, unjust and inequitable conduct.

         256.    Pursuit of any remedies against the repair professionals from which GEICO

  purchased Auto Parts subject to Defendants’ conspiracies would have been futile, given that

  those firms did not take part in Defendants’ conspiracy.

                                      PRAYER FOR RELIEF

         257.    Accordingly, GEICO respectfully requests that:

         A.      The Court determine that the unlawful agreements, conspiracies and combinations

  alleged herein be adjudged and decreed:

                 (i)     Unreasonable restraints of trade or commerce in violation of Section 1 of

         the Sherman Act;

                 (ii)    Per se violations of Section 1 of the Sherman Act;

                 (iii)   Unlawful combinations, trusts, agreements, understandings and/or

         concerts of action in violation of the state antitrust and unfair competition and consumer

         protection laws as set forth herein; and

                 (iv)    Acts of unjust enrichment by Defendants as set forth herein.




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         B.      GEICO recovers damages, to the maximum extent allowed under each

  jurisdiction, and that a joint and several judgment in favor of GEICO be entered against

  Defendants in an amount to be trebled to the extent each jurisdiction permits;

         C.      Defendants, their affiliates, successors, transferees, assignees and other officers,

  directors, partners, agents and employees thereof, and all other persons acting or claiming to act

  on their behalf or in concert with them, be permanently enjoined and restrained from in any

  manner continuing, maintaining or renewing the conduct, agreements, conspiracies or

  combinations alleged herein, or from entering into any other contract, conspiracy or combination

  having a similar purpose or effect, and from adopting or following any practice, plan, program or

  device having a similar purpose or effect;

         D.      GEICO be awarded restitution, including disgorgement of profits Defendants

  obtained as a result of their acts of unfair competition and acts of unjust enrichment;

         E.      GEICO be awarded pre- and post-judgment interest as provided by law, and that

  such interest be awarded at the highest legal rate from and after the date of service of this

  Complaint;

         F.      GEICO recovers its costs of suit, including reasonable attorneys’ fees, as provided

  by law; and

         G.      GEICO recovers such other and further relief as the case may require and the

  Court may deem just and proper.




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        DATED September 2, 2016

                                  Respectfully Submitted,

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